               Case 2:09-bk-56205                            Doc 1          Filed 06/02/09 Entered 06/02/09 15:04:17                                                 Desc Main
B1 (Official Form 1)(1/08)
                                                                            Document     Page 1 of 63
                                              United States Bankruptcy Court
                                       Southern District of Ohio, Eastern Division                                                                             Voluntary Petition
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 Name of Debtor (if individual, enter Last, First, Middle):                                             Name of Joint Debtor (Spouse) (Last, First, Middle):
  Mild, Gregory P.                                                                                         Mild, Cynthia S.


All Other Names used by the Debtor in the last 8 years                                                  All Other Names used by the Joint Debtor in the last 8 years
(include married, maiden, and trade names):                                                             (include married, maiden, and trade names):




Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) No./Complete EIN                       Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN) No./Complete EIN
(if more than one, state all)                                                                           (if more than one, state all)
  xxx-xx-8206                                                                                              xxx-xx-8528
Street Address of Debtor (No. and Street, City, and State):                                             Street Address of Joint Debtor (No. and Street, City, and State):
  2497 Tulane Court                                                                                        2497 Tulane Court
  Lewis Center, OH                                                                                         Lewis Center, OH
                                                                                       ZIP Code                                                                                      ZIP Code
                                                                                     43035                                                                                        43035
County of Residence or of the Principal Place of Business:                                              County of Residence or of the Principal Place of Business:
  Delaware                                                                                                 Delaware
Mailing Address of Debtor (if different from street address):                                           Mailing Address of Joint Debtor (if different from street address):


                                                                                       ZIP Code                                                                                      ZIP Code

Location of Principal Assets of Business Debtor
(if different from street address above):


                   Type of Debtor                                       Nature of Business                                         Chapter of Bankruptcy Code Under Which
                (Form of Organization)                                     (Check one box)                                            the Petition is Filed (Check one box)
                   (Check one box)                              Health Care Business                                  Chapter 7
                                                                Single Asset Real Estate as defined                   Chapter 9                        Chapter 15 Petition for Recognition
    Individual (includes Joint Debtors)                         in 11 U.S.C. § 101 (51B)                                                               of a Foreign Main Proceeding
    See Exhibit D on page 2 of this form.                                                                             Chapter 11
                                                                Railroad
                                                                                                                      Chapter 12                       Chapter 15 Petition for Recognition
    Corporation (includes LLC and LLP)                          Stockbroker
                                                                                                                      Chapter 13                       of a Foreign Nonmain Proceeding
                                                                Commodity Broker
    Partnership
                                                                Clearing Bank
    Other (If debtor is not one of the above entities,          Other                                                                             Nature of Debts
    check this box and state type of entity below.)                                                                                                (Check one box)
                                                                        Tax-Exempt Entity
                                                                       (Check box, if applicable)                     Debts are primarily consumer debts,                 Debts are primarily
                                                                Debtor is a tax-exempt organization                   defined in 11 U.S.C. § 101(8) as                    business debts.
                                                                under Title 26 of the United States                   "incurred by an individual primarily for
                                                                Code (the Internal Revenue Code).                     a personal, family, or household purpose."

                                 Filing Fee (Check one box)                                             Check one box:                   Chapter 11 Debtors
    Full Filing Fee attached                                                                                   Debtor is a small business debtor as defined in 11 U.S.C. § 101(51D).
                                                                                                               Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).
    Filing Fee to be paid in installments (applicable to individuals only). Must                        Check if:
    attach signed application for the court's consideration certifying that the debtor
    is unable to pay fee except in installments. Rule 1006(b). See Official Form 3A.                           Debtor’s aggregate noncontingent liquidated debts (excluding debts owed
                                                                                                               to insiders or affiliates) are less than $2,190,000.
    Filing Fee waiver requested (applicable to chapter 7 individuals only). Must                        Check all applicable boxes:
    attach signed application for the court's consideration. See Official Form 3B.                             A plan is being filed with this petition.
                                                                                                               Acceptances of the plan were solicited prepetition from one or more
                                                                                                               classes of creditors, in accordance with 11 U.S.C. § 1126(b).
Statistical/Administrative Information          *** Thomas C. Lonn 0059788 ***                                                                      THIS SPACE IS FOR COURT USE ONLY
   Debtor estimates that funds will be available for distribution to unsecured creditors.
   Debtor estimates that, after any exempt property is excluded and administrative expenses paid,
   there will be no funds available for distribution to unsecured creditors.
Estimated Number of Creditors

    1-            50-           100-           200-       1,000-        5,001-        10,001-       25,001-      50,001-        OVER
    49            99            199            999        5,000        10,000         25,000        50,000       100,000       100,000
Estimated Assets

    $0 to         $50,001 to    $100,001 to    $500,001   $1,000,001   $10,000,001    $50,000,001   $100,000,001 $500,000,001 More than
    $50,000       $100,000      $500,000       to $1      to $10       to $50         to $100       to $500      to $1 billion $1 billion
                                               million    million      million        million       million
Estimated Liabilities

    $0 to         $50,001 to    $100,001 to    $500,001   $1,000,001   $10,000,001    $50,000,001   $100,000,001 $500,000,001 More than
    $50,000       $100,000      $500,000       to $1      to $10       to $50         to $100       to $500      to $1 billion $1 billion
                                               million    million      million        million       million
              Case 2:09-bk-56205                    Doc 1        Filed 06/02/09 Entered 06/02/09 15:04:17                                          Desc Main
B1 (Official Form 1)(1/08)
                                                                 Document     Page 2 of 63                                                                                  Page 2
                                                                                      Name of Debtor(s):
Voluntary Petition                                                                      Mild, Gregory P.
(This page must be completed and filed in every case)                                   Mild, Cynthia S.
                                 All Prior Bankruptcy Cases Filed Within Last 8 Years (If more than two, attach additional sheet)
Location                                                                      Case Number:                         Date Filed:
Where Filed: - None -
Location                                                                              Case Number:                                   Date Filed:
Where Filed:
          Pending Bankruptcy Case Filed by any Spouse, Partner, or Affiliate of this Debtor (If more than one, attach additional sheet)
Name of Debtor:                                                     Case Number:                          Date Filed:
 - None -
District:                                                                             Relationship:                                  Judge:

                                       Exhibit A                                                                                Exhibit B
                                                                                         (To be completed if debtor is an individual whose debts are primarily consumer debts.)
  (To be completed if debtor is required to file periodic reports (e.g.,                I, the attorney for the petitioner named in the foregoing petition, declare that I
  forms 10K and 10Q) with the Securities and Exchange Commission                        have informed the petitioner that [he or she] may proceed under chapter 7, 11,
  pursuant to Section 13 or 15(d) of the Securities Exchange Act of 1934                12, or 13 of title 11, United States Code, and have explained the relief available
  and is requesting relief under chapter 11.)                                           under each such chapter. I further certify that I delivered to the debtor the notice
                                                                                        required by 11 U.S.C. §342(b).

        Exhibit A is attached and made a part of this petition.                         X     /s/ Thomas C. Lonn                                       June 2, 2009
                                                                                            Signature of Attorney for Debtor(s)                     (Date)
                                                                                              Thomas C. Lonn 0059788

                                                                                Exhibit C
  Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health or safety?
       Yes, and Exhibit C is attached and made a part of this petition.
       No.

                                                                           Exhibit D
  (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)
        Exhibit D completed and signed by the debtor is attached and made a part of this petition.
  If this is a joint petition:
        Exhibit D also completed and signed by the joint debtor is attached and made a part of this petition.

                                                      Information Regarding the Debtor - Venue
                                                                (Check any applicable box)
                    Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180
                    days immediately preceding the date of this petition or for a longer part of such 180 days than in any other District.
                    There is a bankruptcy case concerning debtor's affiliate, general partner, or partnership pending in this District.
                    Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in
                    this District, or has no principal place of business or assets in the United States but is a defendant in an action or
                    proceeding [in a federal or state court] in this District, or the interests of the parties will be served in regard to the relief
                    sought in this District.
                                         Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                                 (Check all applicable boxes)
                    Landlord has a judgment against the debtor for possession of debtor's residence. (If box checked, complete the following.)


                                       (Name of landlord that obtained judgment)




                                       (Address of landlord)

                    Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure
                    the entire monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and
                    Debtor has included in this petition the deposit with the court of any rent that would become due during the 30-day period
                    after the filing of the petition.
                    Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(l)).
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B1 (Official Form 1)(1/08)
                                                                   Document     Page 3 of 63                                                                            Page 3
                                                                                         Name of Debtor(s):
Voluntary Petition                                                                          Mild, Gregory P.
(This page must be completed and filed in every case)                                       Mild, Cynthia S.
                                                                                    Signatures
                  Signature(s) of Debtor(s) (Individual/Joint)                                          Signature of a Foreign Representative
     I declare under penalty of perjury that the information provided in this              I declare under penalty of perjury that the information provided in this petition
     petition is true and correct.                                                         is true and correct, that I am the foreign representative of a debtor in a foreign
     [If petitioner is an individual whose debts are primarily consumer debts and          proceeding, and that I am authorized to file this petition.
     has chosen to file under chapter 7] I am aware that I may proceed under
                                                                                           (Check only one box.)
     chapter 7, 11, 12, or 13 of title 11, United States Code, understand the relief
     available under each such chapter, and choose to proceed under chapter 7.                  I request relief in accordance with chapter 15 of title 11. United States Code.
     [If no attorney represents me and no bankruptcy petition preparer signs the                Certified copies of the documents required by 11 U.S.C. §1515 are attached.
     petition] I have obtained and read the notice required by 11 U.S.C. §342(b).
                                                                                                Pursuant to 11 U.S.C. §1511, I request relief in accordance with the chapter
     I request relief in accordance with the chapter of title 11, United States Code,           of title 11 specified in this petition. A certified copy of the order granting
     specified in this petition.                                                                recognition of the foreign main proceeding is attached.


      /s/ Gregory P. Mild                                                                  X
 X                                                                                             Signature of Foreign Representative
     Signature of Debtor Gregory P. Mild

 X    /s/ Cynthia S. Mild                                                                      Printed Name of Foreign Representative
     Signature of Joint Debtor Cynthia S. Mild
                                                                                               Date
     Telephone Number (If not represented by attorney)                                            Signature of Non-Attorney Bankruptcy Petition Preparer
     June 2, 2009
                                                                                               I declare under penalty of perjury that: (1) I am a bankruptcy petition
     Date                                                                                      preparer as defined in 11 U.S.C. § 110; (2) I prepared this document for
                                                                                               compensation and have provided the debtor with a copy of this document
                              Signature of Attorney*                                           and the notices and information required under 11 U.S.C. §§ 110(b),
                                                                                               110(h), and 342(b); and, (3) if rules or guidelines have been promulgated
                                                                                               pursuant to 11 U.S.C. § 110(h) setting a maximum fee for services
 X    /s/ Thomas C. Lonn
                                                                                               chargeable by bankruptcy petition preparers, I have given the debtor notice
     Signature of Attorney for Debtor(s)                                                       of the maximum amount before preparing any document for filing for a
      Thomas C. Lonn 0059788                                                                   debtor or accepting any fee from the debtor, as required in that section.
                                                                                               Official Form 19 is attached.
     Printed Name of Attorney for Debtor(s)
      LAW OFFICE OF THOMAS C. LONN
                                                                                               Printed Name and title, if any, of Bankruptcy Petition Preparer
     Firm Name
      833 Eastwind Drive
      Westerville, OH 43081                                                                    Social-Security number (If the bankrutpcy petition preparer is not
                                                                                               an individual, state the Social Security number of the officer,
                                                                                               principal, responsible person or partner of the bankruptcy petition
     Address                                                                                   preparer.)(Required by 11 U.S.C. § 110.)

                            Email: tclonnesq@rrohio.com
      614-895-1234 Fax: 614-865-3377
     Telephone Number
     June 2, 2009
                                                                                               Address
     Date
     *In a case in which § 707(b)(4)(D) applies, this signature also constitutes a
     certification that the attorney has no knowledge after an inquiry that the            X
     information in the schedules is incorrect.
                                                                                               Date
                Signature of Debtor (Corporation/Partnership)
                                                                                               Signature of Bankruptcy Petition Preparer or officer, principal, responsible
     I declare under penalty of perjury that the information provided in this                  person,or partner whose Social Security number is provided above.
     petition is true and correct, and that I have been authorized to file this petition
     on behalf of the debtor.                                                                  Names and Social-Security numbers of all other individuals who prepared or
                                                                                               assisted in preparing this document unless the bankruptcy petition preparer is
     The debtor requests relief in accordance with the chapter of title 11, United             not an individual:
     States Code, specified in this petition.

 X
     Signature of Authorized Individual
                                                                                               If more than one person prepared this document, attach additional sheets
                                                                                               conforming to the appropriate official form for each person.
     Printed Name of Authorized Individual
                                                                                               A bankruptcy petition preparer’s failure to comply with the provisions of
                                                                                               title 11 and the Federal Rules of Bankruptcy Procedure may result in
     Title of Authorized Individual                                                            fines or imprisonment or both 11 U.S.C. §110; 18 U.S.C. §156.

     Date
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B6 Summary (Official Form 6 - Summary) (12/07)


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                                                                  United States Bankruptcy Court
                                                              Southern District of Ohio, Eastern Division
  In re          Gregory P. Mild,                                                                                    Case No.
                 Cynthia S. Mild
                                                                                                                ,
                                                                                               Debtors               Chapter                  7




                                                                       SUMMARY OF SCHEDULES
     Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A,
     B, D, E, F, I, and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor’s assets.
     Add the amounts of all claims from Schedules D, E, and F to determine the total amount of the debtor’s liabilities. Individual debtors must
     also complete the "Statistical Summary of Certain Liabilities and Related Data" if they file a case under chapter 7, 11, or 13.




              NAME OF SCHEDULE                             ATTACHED                NO. OF          ASSETS               LIABILITIES            OTHER
                                                            (YES/NO)               SHEETS

A - Real Property                                                 Yes                 2               2,527,170.00


B - Personal Property                                             Yes                 3                  15,747.00


C - Property Claimed as Exempt                                    Yes                 1


D - Creditors Holding Secured Claims                              Yes                 7                                    2,575,168.00


E - Creditors Holding Unsecured                                   Yes                 1                                              0.00
    Priority Claims (Total of Claims on Schedule E)

F - Creditors Holding Unsecured                                   Yes                 19                                       453,002.84
    Nonpriority Claims

G - Executory Contracts and                                       Yes                 1
   Unexpired Leases

H - Codebtors                                                     Yes                 1


I - Current Income of Individual                                  Yes                 1                                                                3,949.29
    Debtor(s)

J - Current Expenditures of Individual                            Yes                 2                                                                5,124.00
    Debtor(s)

   Total Number of Sheets of ALL Schedules                                            38


                                                                                Total Assets          2,542,917.00


                                                                                                 Total Liabilities         3,028,170.84




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Form 6 - Statistical Summary (12/07)


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                                                                  United States Bankruptcy Court
                                                              Southern District of Ohio, Eastern Division
  In re           Gregory P. Mild,                                                                                        Case No.
                  Cynthia S. Mild
                                                                                                               ,
                                                                                            Debtors                       Chapter            7


               STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)
          If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C.§ 101(8)), filing
          a case under chapter 7, 11 or 13, you must report all information requested below.

                   Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to
                   report any information here.

          This information is for statistical purposes only under 28 U.S.C. § 159.
          Summarize the following types of liabilities, as reported in the Schedules, and total them.


              Type of Liability                                                                       Amount

              Domestic Support Obligations (from Schedule E)                                                           0.00

              Taxes and Certain Other Debts Owed to Governmental Units
              (from Schedule E)
                                                                                                                       0.00

              Claims for Death or Personal Injury While Debtor Was Intoxicated
              (from Schedule E) (whether disputed or undisputed)
                                                                                                                       0.00

              Student Loan Obligations (from Schedule F)                                                       17,799.00

              Domestic Support, Separation Agreement, and Divorce Decree
              Obligations Not Reported on Schedule E
                                                                                                                       0.00

              Obligations to Pension or Profit-Sharing, and Other Similar Obligations
              (from Schedule F)
                                                                                                                       0.00

                                                                                    TOTAL                      17,799.00


              State the following:

              Average Income (from Schedule I, Line 16)                                                            3,949.29

              Average Expenses (from Schedule J, Line 18)                                                          5,124.00

              Current Monthly Income (from Form 22A Line 12; OR,
              Form 22B Line 11; OR, Form 22C Line 20 )                                                             5,419.42


              State the following:
              1. Total from Schedule D, "UNSECURED PORTION, IF ANY"
                  column
                                                                                                                                     192,979.00

              2. Total from Schedule E, "AMOUNT ENTITLED TO PRIORITY"
                  column
                                                                                                                       0.00

              3. Total from Schedule E, "AMOUNT NOT ENTITLED TO
                  PRIORITY, IF ANY" column
                                                                                                                                           0.00

              4. Total from Schedule F                                                                                               453,002.84

              5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                                                           645,981.84




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B6A (Official Form 6A) (12/07)


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  In re          Gregory P. Mild,                                                                                     Case No.
                 Cynthia S. Mild
                                                                                                             ,
                                                                                               Debtors
                                                                 SCHEDULE A - REAL PROPERTY
        Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a
cotenant, community property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for
the debtor's own benefit. If the debtor is married, state whether husband, wife, both, or the marital community own the property by placing an "H," "W,"
"J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor holds no interest in real property, write "None" under
"Description and Location of Property."
        Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.
        If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity
claims to hold a secured interest in the property, write "None" in the column labeled "Amount of Secured Claim." If the debtor is an individual or
if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C - Property Claimed as Exempt.

                                                                                                             Husband,    Current Value of
                                                                                     Nature of Debtor's       Wife,     Debtor's Interest in     Amount of
                 Description and Location of Property                                Interest in Property     Joint, or  Property, without      Secured Claim
                                                                                                            Community Deducting  any Secured
                                                                                                                        Claim or Exemption

2040 Hegemon Crest                                                                                               J               160,200.00            116,009.00
Columbus, Ohio

7648 Red Bay Ct                                                                                                  J               503,200.00            568,803.00
Dublin, Ohio

2217 Sullivant Avenue                                                                                            J                52,500.00             47,299.00
Columbus, Ohio

2271 Joyce Avenue                                                                                                J                50,200.00             43,888.00
Columbus, Ohio

2322 Grasmere Avenue                                                                                             J                40,500.00             42,292.00
Columbus, Ohio 43211

2400 Minerva Park Place                                                                                          J               169,600.00            150,952.00
Columbus, Ohio

1357 S. Ohio Avenue                                                                                              J                64,400.00             77,540.00
Columbus, Ohio

1352 S. Ohio Avenue                                                                                              J                76,000.00             77,613.00
Columbus, Ohio

740 S. 18th Street                                                                                               J                68,600.00             68,417.00
Columbus, Ohio

2488 Kitchner Drive                                                                                              J                66,900.00             73,048.00
Columbus, Ohio

85 Haddam Place W                                                                                                J               177,900.00            193,786.00
Westerville, Ohio 43081

3578 Brandon Street                                                                                              J                60,800.00             64,307.00
Columbus, Ohio



                                                                                                             Sub-Total >      1,490,800.00     (Total of this page)


  1     continuation sheets attached to the Schedule of Real Property

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  In re          Gregory P. Mild,                                                                                        Case No.
                 Cynthia S. Mild
                                                                                                             ,
                                                                                               Debtors
                                                                 SCHEDULE A - REAL PROPERTY
                                                                                     (Continuation Sheet)




                                                                                                             Husband,    Current Value of
                                                                                     Nature of Debtor's       Wife      Debtor's Interest in           Amount of
                 Description and Location of Property                                Interest in Property     Joint, or  Property, without            Secured Claim
                                                                                                            Community Deducting  any Secured
                                                                                                                        Claim or Exemption

2924 Woodland Avenue                                                                                             J                   58,900.00                68,482.00
Columbus, Ohio 43219

1676 Cole Road                                                                                                   J                  220,000.00               218,937.00
Columbus, Ohio

211 S. Warren Avenue                                                                Debtor Wife Owns             -                   39,200.00                  6,341.00
Columbus, Ohio                                                                      Business Entity That
                                                                                    Owns Property
(Property Owned By Advanced Real Marketing)

402 S. Warren Avenue                                                                Debtor Wife Owns             -                   42,000.00                25,676.00
Columbus, Ohio                                                                      Business Entity That
                                                                                    Owns Property
(Property Owned By Advanced Real Marketing)

1389 E. Long Street                                                                 Debtor Wife Owns             -                   73,700.00                71,528.00
Columbus, Ohio                                                                      Busines Entity That
                                                                                    Owns Property
(Property Owned By Advanced Real Marketing)

2399 Bancroft Street                                                                                             J                   53,000.00                46,651.00
Columbus, Ohio

2357 Bancroft Street                                                                                             J                   61,000.00                61,182.00
Columbus, Ohio

1019 Geers Avenue                                                                                                J                   65,000.00                65,197.00
Columbus, Ohio

575 Somerlot-Hoffman Road                                                                                        J                  124,770.00               144,633.00
Marion, Ohio

2497 Tulane Ct                                                                                                   J                  298,800.00               261,296.00
Lewis Center, Ohio




                                                                                                             Sub-Total >        1,036,370.00         (Total of this page)

                                                                                                                     Total >    2,527,170.00
Sheet     1      of    1      continuation sheets attached to the Schedule of Real Property
                                                                                                             (Report also on Summary of Schedules)
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  In re          Gregory P. Mild,                                                                                           Case No.
                 Cynthia S. Mild
                                                                                                                ,
                                                                                               Debtors
                                                          SCHEDULE B - PERSONAL PROPERTY
    Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories, place
an "x" in the appropriate position in the column labeled "None." If additional space is needed in any category, attach a separate sheet properly identified
with the case name, case number, and the number of the category. If the debtor is married, state whether husband, wife, both, or the marital community
own the property by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor is an individual or a joint
petition is filed, state the amount of any exemptions claimed only in Schedule C - Property Claimed as Exempt.
    Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.
If the property is being held for the debtor by someone else, state that person's name and address under "Description and Location of Property."
If the property is being held for a minor child, simply state the child's initials and the name and address of the child's parent or guardian, such as
"A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
                                                             N                                                                     Husband,        Current Value of
                 Type of Property                            O                      Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                             N                                                                      Joint, or   without Deducting any
                                                             E                                                                    Community Secured Claim or Exemption

1.     Cash on hand                                              Cash                                                                  J                           100.00

2.     Checking, savings or other financial                      Checking First Merit                                                  J                           533.00
       accounts, certificates of deposit, or
       shares in banks, savings and loan,                        Checking First Merit                                                  J                           214.00
       thrift, building and loan, and
       homestead associations, or credit                         First Merit Checking Account                                          H                              0.00
       unions, brokerage houses, or
       cooperatives.

3.     Security deposits with public                         X
       utilities, telephone companies,
       landlords, and others.

4.     Household goods and furnishings,                          Misc.                                                                 J                        3,000.00
       including audio, video, and
       computer equipment.

5.     Books, pictures and other art                             Sports Trading Goods                                                  J                           500.00
       objects, antiques, stamp, coin,
       record, tape, compact disc, and
       other collections or collectibles.

6.     Wearing apparel.                                          Misc.                                                                 J                           500.00

7.     Furs and jewelry.                                         Wedding Set                                                           J                           250.00

8.     Firearms and sports, photographic,                        Treadmill                                                             J                           200.00
       and other hobby equipment.

9.     Interests in insurance policies.                      X
       Name insurance company of each
       policy and itemize surrender or
       refund value of each.

10. Annuities. Itemize and name each                         X
    issuer.




                                                                                                                                       Sub-Total >            5,297.00
                                                                                                                           (Total of this page)

  2     continuation sheets attached to the Schedule of Personal Property

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                Case 2:09-bk-56205                           Doc 1              Filed 06/02/09 Entered 06/02/09 15:04:17                         Desc Main
                                                                                Document     Page 9 of 63
B6B (Official Form 6B) (12/07) - Cont.




  In re          Gregory P. Mild,                                                                                           Case No.
                 Cynthia S. Mild
                                                                                                                ,
                                                                                               Debtors
                                                          SCHEDULE B - PERSONAL PROPERTY
                                                                                      (Continuation Sheet)

                                                             N                                                                     Husband,        Current Value of
                 Type of Property                            O                      Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                             N                                                                      Joint, or   without Deducting any
                                                             E                                                                    Community Secured Claim or Exemption

11. Interests in an education IRA as                             IRA $2500                                                             W                              0.00
    defined in 26 U.S.C. § 530(b)(1) or
    under a qualified State tuition plan                         STRS                                                                  H                              0.00
    as defined in 26 U.S.C. § 529(b)(1).
    Give particulars. (File separately the
    record(s) of any such interest(s).
    11 U.S.C. § 521(c).)

12. Interests in IRA, ERISA, Keogh, or                       X
    other pension or profit sharing
    plans. Give particulars.

13. Stock and interests in incorporated                      X
    and unincorporated businesses.
    Itemize.

14. Interests in partnerships or joint                       X
    ventures. Itemize.

15. Government and corporate bonds                           X
    and other negotiable and
    nonnegotiable instruments.

16. Accounts receivable.                                         Betty Hill, North Bend, Canal Winchester 16,000,                      J                              0.00
                                                                 2nd Mortgage, Home is in Foreclosure

17. Alimony, maintenance, support, and                       X
    property settlements to which the
    debtor is or may be entitled. Give
    particulars.

18. Other liquidated debts owed to debtor X
    including tax refunds. Give particulars.


19. Equitable or future interests, life                      X
    estates, and rights or powers
    exercisable for the benefit of the
    debtor other than those listed in
    Schedule A - Real Property.

20. Contingent and noncontingent                             X
    interests in estate of a decedent,
    death benefit plan, life insurance
    policy, or trust.

21. Other contingent and unliquidated                        X
    claims of every nature, including
    tax refunds, counterclaims of the
    debtor, and rights to setoff claims.
    Give estimated value of each.

                                                                                                                                       Sub-Total >                  0.00
                                                                                                                           (Total of this page)

Sheet 1 of 2          continuation sheets attached
to the Schedule of Personal Property

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                Case 2:09-bk-56205                           Doc 1           Filed 06/02/09 Entered 06/02/09 15:04:17                        Desc Main
                                                                            Document      Page 10 of 63
B6B (Official Form 6B) (12/07) - Cont.




  In re          Gregory P. Mild,                                                                                       Case No.
                 Cynthia S. Mild
                                                                                                            ,
                                                                                           Debtors
                                                          SCHEDULE B - PERSONAL PROPERTY
                                                                                  (Continuation Sheet)

                                                             N                                                                 Husband,        Current Value of
                 Type of Property                            O                  Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                             N                                                                  Joint, or   without Deducting any
                                                             E                                                                Community Secured Claim or Exemption

22. Patents, copyrights, and other                           X
    intellectual property. Give
    particulars.

23. Licenses, franchises, and other                          X
    general intangibles. Give
    particulars.

24. Customer lists or other compilations                     X
    containing personally identifiable
    information (as defined in 11 U.S.C.
    § 101(41A)) provided to the debtor
    by individuals in connection with
    obtaining a product or service from
    the debtor primarily for personal,
    family, or household purposes.

25. Automobiles, trucks, trailers, and                           2006 Chevy HHR                                                     J                       8,825.00
    other vehicles and accessories.
                                                                 1998 Chevy Venture 130,000                                         J                       1,625.00

26. Boats, motors, and accessories.                          X

27. Aircraft and accessories.                                X

28. Office equipment, furnishings, and                       X
    supplies.

29. Machinery, fixtures, equipment, and                      X
    supplies used in business.

30. Inventory.                                               X

31. Animals.                                                 X

32. Crops - growing or harvested. Give                       X
    particulars.

33. Farming equipment and                                    X
    implements.

34. Farm supplies, chemicals, and feed.                      X

35. Other personal property of any kind                      X
    not already listed. Itemize.




                                                                                                                                   Sub-Total >          10,450.00
                                                                                                                       (Total of this page)
                                                                                                                                        Total >         15,747.00
Sheet 2 of 2          continuation sheets attached
to the Schedule of Personal Property                                                                                               (Report also on Summary of Schedules)
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                 Case 2:09-bk-56205                           Doc 1           Filed 06/02/09 Entered 06/02/09 15:04:17                        Desc Main
                                                                             Document      Page 11 of 63
 B6C (Official Form 6C) (12/07)


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   In re          Gregory P. Mild,                                                                                      Case No.
                  Cynthia S. Mild
                                                                                                               ,
                                                                                              Debtors
                                              SCHEDULE C - PROPERTY CLAIMED AS EXEMPT
 Debtor claims the exemptions to which debtor is entitled under:                                        Check if debtor claims a homestead exemption that exceeds
 (Check one box)                                                                                        $136,875.
    11 U.S.C. §522(b)(2)
    11 U.S.C. §522(b)(3)

                                                                                      Specify Law Providing                   Value of           Current Value of
                    Description of Property                                              Each Exemption                       Claimed            Property Without
                                                                                                                             Exemption         Deducting Exemption
Real Property
2497 Tulane Ct                                                                   Ohio Rev. Code Ann. § 2329.66(A)(1)              37,504.00               298,800.00
Lewis Center, Ohio

Checking, Savings, or Other Financial Accounts, Certificates of Deposit
Checking First Merit                              Ohio Rev. Code Ann. § 2329.66(A)(3)                                                800.00                     533.00

Household Goods and Furnishings
Misc.                                                                            Ohio Rev. Code Ann. §                             3,000.00                  3,000.00
                                                                                 2329.66(A)(4)(a)

Books, Pictures and Other Art Objects; Collectibles
Sports Trading Goods                                Ohio Rev. Code Ann. § 2329.66(A)(18)                                             500.00                     500.00

Wearing Apparel
Misc.                                                                            Ohio Rev. Code Ann. §                               500.00                     500.00
                                                                                 2329.66(A)(4)(a)

Furs and Jewelry
Wedding Set                                                                      Ohio Rev. Code Ann. §                               250.00                     250.00
                                                                                 2329.66(A)(4)(b)

Firearms and Sports, Photographic and Other Hobby Equipment
Treadmill                                       Ohio Rev. Code Ann. § 2329.66(A)(18)                                                 200.00                     200.00

Automobiles, Trucks, Trailers, and Other Vehicles
2006 Chevy HHR                                                                   Ohio Rev. Code Ann. § 2329.66(A)(2)               6,450.00                  8,825.00




                                                                                                               Total:             49,204.00               312,608.00
    0      continuation sheets attached to Schedule of Property Claimed as Exempt
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                 Case 2:09-bk-56205                           Doc 1           Filed 06/02/09 Entered 06/02/09 15:04:17                            Desc Main
                                                                             Document      Page 12 of 63
 B6D (Official Form 6D) (12/07)


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   In re          Gregory P. Mild,                                                                                              Case No.
                  Cynthia S. Mild
                                                                                                                   ,
                                                                                                     Debtors
                                      SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS

       State the name, mailing address, including zip code, and last four digits of any account number of all entities holding claims secured by property of the debtor as of
 the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided
 if the debtor chooses to do so. List creditors holding all types of secured interests such as judgment liens, garnishments, statutory liens, mortgages, deeds of trust, and
 other security interests.
       List creditors in alphabetical order to the extent practicable. If a minor child is a creditor, the child's initials and the name and address of the child's parent or
 guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). If all secured
 creditors will not fit on this page, use the continuation sheet provided.
       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor" ,include the entity on the appropriate
 schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
 liable on each claim by placing an "H", "W", "J", or "C" in the column labeled "Husband, Wife, Joint, or Community".
       If the claim is contingent, place an "X" in the column labeled "Contingent". If the claim is unliquidated, place an "X" in the column labeled "Unliquidated". If the
 claim is disputed, place an "X" in the column labeled "Disputed". (You may need to place an "X" in more than one of these three columns.)
       Total the columns labeled "Amount of Claim Without Deducting Value of Collateral" and "Unsecured Portion, if Any" in the boxes labeled "Total(s)" on the last
 sheet of the completed schedule. Report the total from the column labeled "Amount of Claim" also on the Summary of Schedules and, if the debtor is an individual with
 primarily consumer debts, report the total from the column labeled "Unsecured Portion" on the Statistical Summary of Certain Liabilities and Related Data.
       Check this box if debtor has no creditors holding secured claims to report on this Schedule D.
                                                                C   Husband, Wife, Joint, or Community                      C    U   D     AMOUNT OF
              CREDITOR'S NAME                                   O                                                           O    N   I
                                                                D   H        DATE CLAIM WAS INCURRED,                       N    L   S        CLAIM
           AND MAILING ADDRESS                                  E                                                           T    I   P       WITHOUT         UNSECURED
            INCLUDING ZIP CODE,                                 B   W           NATURE OF LIEN, AND                         I    Q   U                       PORTION, IF
                                                                T   J         DESCRIPTION AND VALUE                         N    U   T
                                                                                                                                            DEDUCTING
           AND ACCOUNT NUMBER                                   O                                                           G    I   E       VALUE OF           ANY
             (See instructions above.)
                                                                    C                OF PROPERTY
                                                                R
                                                                                  SUBJECT TO LIEN
                                                                                                                            E    D   D     COLLATERAL
                                                                                                                            N    A
                                                                                                                            T    T
Account No. 6470022990980                                               Opened 3/01/07 Last Active 4/29/08                       E
                                                                                                                                 D

American Home Mtg Srv                                                   7648 Red Bay Ct
Attn: Bankruptcy                                                        Dublin, Ohio
4600 Regent Blvd
                                                                    J
Irving, TX 75063

                                                                         Value $                           503,200.00                        568,803.00            65,603.00
Account No.
                                                                         John D. Clunk CO., L.P.A.
Representing:                                                            5601 Hudson Drive, Suite 400
American Home Mtg Srv                                                    Hudson, OH 44236



                                                                         Value $
Account No. 5005034038                                                  Opened 2/05/04 Last Active 4/30/08

Central Mortgage Co                                                     First Mortgage

                                                                      85 Haddam Place W
                                                                    H Westerville, Ohio 43081

                                                                         Value $                           177,900.00                        164,621.00                    0.00
Account No.
                                                                         Carlisle, McNellie & Rini
Representing:                                                            25200 Chagrin Blvd. Suite 240
Central Mortgage Co                                                      Beachwood, OH 44122



                                                                         Value $
                                                                                                                         Subtotal
 6
_____ continuation sheets attached                                                                                                           733,424.00            65,603.00
                                                                                                                (Total of this page)




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 B6D (Official Form 6D) (12/07) - Cont.




   In re          Gregory P. Mild,                                                                                                 Case No.
                  Cynthia S. Mild
                                                                                                                      ,
                                                                                                     Debtors

                                      SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                                                                                         (Continuation Sheet)

                                                                C   Husband, Wife, Joint, or Community                         C    U   D     AMOUNT OF
             CREDITOR'S NAME                                    O                                                              O    N   I
                                                                D   H            DATE CLAIM WAS INCURRED,                      N    L   S        CLAIM
           AND MAILING ADDRESS                                  E                                                              T    I   P       WITHOUT        UNSECURED
                                                                    W              NATURE OF LIEN, AND                                                         PORTION, IF
            INCLUDING ZIP CODE,                                 B
                                                                                  DESCRIPTION AND VALUE
                                                                                                                               I    Q   U
                                                                                                                                               DEDUCTING
                                                                T   J                                                          N    U   T                         ANY
           AND ACCOUNT NUMBER                                   O   C                  OF PROPERTY                             G    I   E       VALUE OF
              (See instructions.)                               R
                                                                                      SUBJECT TO LIEN                          E    D   D     COLLATERAL
                                                                                                                               N    A
                                                                                                                               T    T
Account No. 4650024260697                                               Opened 2/01/07 Last Active 4/01/08                          E
                                                                                                                                    D

Chase Manhattan Mortgage                                                2271 Joyce Avenue
Attention: Research Dept. G7-PP                                         Columbus, Ohio
3415 Vision Drive
                                                                    J
Columbus, OH 43219

                                                                         Value $                               50,200.00                         43,888.00                   0.00
Account No. 4650024260671                                               Opened 2/01/07 Last Active 4/01/08

Chase Manhattan Mortgage                                                2322 Grasmere Avenue
Attention: Research Dept. G7-PP                                         Columbus, Ohio 43211
3415 Vision Drive
                                                                    J
Columbus, OH 43219

                                                                         Value $                               40,500.00                         42,292.00             1,792.00
Account No. 69940575                                                    Opened 11/01/04 Last Active 6/11/08

Countrywide Home Lending                                                575 Somerlot-Hoffman Road
Attention: Bankruptcy SV-314B                                           Marion, Ohio
Po Box 5170
                                                                    J
Simi Valley, CA 93062

                                                                         Value $                           124,770.00                           144,633.00           19,863.00
Account No. 401665526                                                   Opened 12/01/05 Last Active 8/05/08

Fifth Third Bank                                                        2497 Tulane Ct
C/O Bankruptcy Dept, Mdropso5                                           Lewis Center, Ohio
1850 East Paris
                                                                    J
Grand Rapids, MI 49546

                                                                         Value $                           298,800.00                           261,296.00                   0.00
Account No. 402029656                                                   Opened 3/01/06 Last Active 8/05/08

Fifth Third Bank                                                        1676 Cole Road
C/O Bankruptcy Dept, Mdropso5                                           Columbus, Ohio
1850 East Paris
                                                                    H
Grand Rapids, MI 49546

                                                                         Value $                           220,000.00                           218,937.00                   0.00
       1
Sheet _____    6
            of _____  continuation sheets attached to                                                                       Subtotal
                                                                                                                                                711,046.00           21,655.00
Schedule of Creditors Holding Secured Claims                                                                       (Total of this page)




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                 Case 2:09-bk-56205                           Doc 1           Filed 06/02/09 Entered 06/02/09 15:04:17                               Desc Main
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 B6D (Official Form 6D) (12/07) - Cont.




   In re          Gregory P. Mild,                                                                                                 Case No.
                  Cynthia S. Mild
                                                                                                                      ,
                                                                                                     Debtors

                                      SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                                                                                         (Continuation Sheet)

                                                                C   Husband, Wife, Joint, or Community                         C    U   D     AMOUNT OF
             CREDITOR'S NAME                                    O                                                              O    N   I
                                                                D   H            DATE CLAIM WAS INCURRED,                      N    L   S        CLAIM
           AND MAILING ADDRESS                                  E                                                              T    I   P       WITHOUT        UNSECURED
                                                                    W              NATURE OF LIEN, AND                                                         PORTION, IF
            INCLUDING ZIP CODE,                                 B
                                                                                  DESCRIPTION AND VALUE
                                                                                                                               I    Q   U
                                                                                                                                               DEDUCTING
                                                                T   J                                                          N    U   T                         ANY
           AND ACCOUNT NUMBER                                   O   C                  OF PROPERTY                             G    I   E       VALUE OF
              (See instructions.)                               R
                                                                                      SUBJECT TO LIEN                          E    D   D     COLLATERAL
                                                                                                                               N    A
                                                                                                                               T    T
Account No. 402060974                                                   Opened 3/01/06 Last Active 8/05/08                          E
                                                                                                                                    D

Fifth Third Bank                                                        1352 S. Ohio Avenue
C/O Bankruptcy Dept, Mdropso5                                           Columbus, Ohio
1850 East Paris
                                                                    H
Grand Rapids, MI 49546

                                                                         Value $                               76,000.00                         77,613.00             1,613.00
Account No. 402082010                                                   Opened 3/01/06 Last Active 8/05/08

Fifth Third Bank                                                        1357 S. Ohio Avenue
C/O Bankruptcy Dept, Mdropso5                                           Columbus, Ohio
1850 East Paris
                                                                    H
Grand Rapids, MI 49546

                                                                         Value $                               64,400.00                         77,540.00           13,140.00
Account No. 402058788                                                   Opened 3/01/06 Last Active 8/05/08

Fifth Third Bank                                                        2488 Kitchner Drive
C/O Bankruptcy Dept, Mdropso5                                           Columbus, Ohio
1850 East Paris
                                                                    H
Grand Rapids, MI 49546

                                                                         Value $                               66,900.00                         73,048.00             6,148.00
Account No. 401713540                                                   Opened 12/01/05 Last Active 8/05/08

Fifth Third Bank                                                        1389 E. Long Street
C/O Bankruptcy Dept, Mdropso5                                           Columbus, Ohio
1850 East Paris
                                                                    J (Property Owned By Advanced Real
Grand Rapids, MI 49546                                                Marketing)
                                                                         Value $                               73,700.00                         71,528.00                   0.00
Account No. 402060834                                                   Opened 3/01/06 Last Active 8/05/08

Fifth Third Bank                                                        2924 Woodland Avenue
C/O Bankruptcy Dept, Mdropso5                                           Columbus, Ohio 43219
1850 East Paris
                                                                    H
Grand Rapids, MI 49546

                                                                         Value $                               58,900.00                         68,482.00             9,582.00
       2
Sheet _____    6
            of _____  continuation sheets attached to                                                                       Subtotal
                                                                                                                                                368,211.00           30,483.00
Schedule of Creditors Holding Secured Claims                                                                       (Total of this page)




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                 Case 2:09-bk-56205                           Doc 1           Filed 06/02/09 Entered 06/02/09 15:04:17                               Desc Main
                                                                             Document      Page 15 of 63
 B6D (Official Form 6D) (12/07) - Cont.




   In re          Gregory P. Mild,                                                                                                 Case No.
                  Cynthia S. Mild
                                                                                                                      ,
                                                                                                     Debtors

                                      SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                                                                                         (Continuation Sheet)

                                                                C   Husband, Wife, Joint, or Community                         C    U   D     AMOUNT OF
             CREDITOR'S NAME                                    O                                                              O    N   I
                                                                D   H            DATE CLAIM WAS INCURRED,                      N    L   S        CLAIM
           AND MAILING ADDRESS                                  E                                                              T    I   P       WITHOUT        UNSECURED
                                                                    W              NATURE OF LIEN, AND                                                         PORTION, IF
            INCLUDING ZIP CODE,                                 B
                                                                                  DESCRIPTION AND VALUE
                                                                                                                               I    Q   U
                                                                                                                                               DEDUCTING
                                                                T   J                                                          N    U   T                         ANY
           AND ACCOUNT NUMBER                                   O   C                  OF PROPERTY                             G    I   E       VALUE OF
              (See instructions.)                               R
                                                                                      SUBJECT TO LIEN                          E    D   D     COLLATERAL
                                                                                                                               N    A
                                                                                                                               T    T
Account No. 402093488                                                   Opened 3/01/06 Last Active 8/05/08                          E
                                                                                                                                    D

Fifth Third Bank                                                        740 S. 18th Street
C/O Bankruptcy Dept, Mdropso5                                           Columbus, Ohio
1850 East Paris
                                                                    H
Grand Rapids, MI 49546

                                                                         Value $                               68,600.00                         68,417.00                   0.00
Account No. 86086                                                       Opened 12/01/05 Last Active 5/27/08

Fifth Third Bank                                                        CreditLineSecured
C/O Bankruptcy Dept, Mdropso5                                           2497 Tulane Ct.
1850 East Paris                                                         Lewis Center, Ohio
                                                                    H
Grand Rapids, MI 49546

                                                                         Value $                           278,000.00                            65,763.00           48,763.00
Account No. 402563332                                                   Opened 7/01/06 Last Active 8/05/08

Fifth Third Bank                                                        1019 Geers Avenue
C/O Bankruptcy Dept, Mdropso5                                           Columbus, Ohio
1850 East Paris
                                                                    J
Grand Rapids, MI 49546

                                                                         Value $                               65,000.00                         65,197.00               197.00
Account No. 402092746                                                   Opened 3/01/06 Last Active 4/29/08

Fifth Third Bank                                                        3578 Brandon Street
C/O Bankruptcy Dept, Mdropso5                                           Columbus, Ohio
1850 East Paris
                                                                    H
Grand Rapids, MI 49546

                                                                         Value $                               60,800.00                         64,307.00             3,507.00
Account No.
                                                                         Lerner Sampson & Rothfuss
Representing:                                                            Attn: Jennifer Madine
Fifth Third Bank                                                         120 E. Fourth Street, 8th Floor
                                                                         Cincinnati, OH 45202-4007


                                                                         Value $
       3
Sheet _____    6
            of _____  continuation sheets attached to                                                                       Subtotal
                                                                                                                                                263,684.00           52,467.00
Schedule of Creditors Holding Secured Claims                                                                       (Total of this page)




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                 Case 2:09-bk-56205                           Doc 1           Filed 06/02/09 Entered 06/02/09 15:04:17                               Desc Main
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   In re          Gregory P. Mild,                                                                                                 Case No.
                  Cynthia S. Mild
                                                                                                                      ,
                                                                                                     Debtors

                                      SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                                                                                         (Continuation Sheet)

                                                                C   Husband, Wife, Joint, or Community                         C    U   D     AMOUNT OF
             CREDITOR'S NAME                                    O                                                              O    N   I
                                                                D   H            DATE CLAIM WAS INCURRED,                      N    L   S        CLAIM
           AND MAILING ADDRESS                                  E                                                              T    I   P       WITHOUT        UNSECURED
                                                                    W              NATURE OF LIEN, AND                                                         PORTION, IF
            INCLUDING ZIP CODE,                                 B
                                                                                  DESCRIPTION AND VALUE
                                                                                                                               I    Q   U
                                                                                                                                               DEDUCTING
                                                                T   J                                                          N    U   T                         ANY
           AND ACCOUNT NUMBER                                   O   C                  OF PROPERTY                             G    I   E       VALUE OF
              (See instructions.)                               R
                                                                                      SUBJECT TO LIEN                          E    D   D     COLLATERAL
                                                                                                                               N    A
                                                                                                                               T    T
Account No. 402293807                                                   Opened 6/01/06 Last Active 8/05/08                          E
                                                                                                                                    D

Fifth Third Bank                                                        2357 Bancroft Street
C/O Bankruptcy Dept, Mdropso5                                           Columbus, Ohio
1850 East Paris
                                                                    J
Grand Rapids, MI 49546

                                                                         Value $                               61,000.00                         61,182.00               182.00
Account No. 400722310                                                   Opened 5/01/05 Last Active 8/05/08

Fifth Third Bank                                                        2217 Sullivant Avenue
C/O Bankruptcy Dept, Mdropso5                                           Columbus, Ohio
1850 East Paris
                                                                    J
Grand Rapids, MI 49546

                                                                         Value $                               52,500.00                         47,299.00                   0.00
Account No. 402562730                                                   Opened 7/01/06 Last Active 8/05/08

Fifth Third Bank                                                        2399 Bancroft Street
C/O Bankruptcy Dept, Mdropso5                                           Columbus, Ohio
1850 East Paris
                                                                    J
Grand Rapids, MI 49546

                                                                         Value $                               53,000.00                         46,651.00                   0.00
Account No. 401681333                                                   Opened 12/01/05 Last Active 8/05/08

Fifth Third Bank                                                        402 S. Warren Avenue
C/O Bankruptcy Dept, Mdropso5                                           Columbus, Ohio
1850 East Paris
                                                                    J (Property Owned By Advanced Real
Grand Rapids, MI 49546                                                Marketing)
                                                                         Value $                               42,000.00                         25,676.00                   0.00
Account No. 401681325                                                   Opened 12/01/05 Last Active 8/05/08

Fifth Third Bank                                                        211 S. Warren Avenue
C/O Bankruptcy Dept, Mdropso5                                           Columbus, Ohio
1850 East Paris
                                                                    J (Property Owned By Advanced Real
Grand Rapids, MI 49546                                                Marketing)
                                                                         Value $                               39,200.00                          6,341.00                   0.00
       4
Sheet _____    6
            of _____  continuation sheets attached to                                                                       Subtotal
                                                                                                                                                187,149.00               182.00
Schedule of Creditors Holding Secured Claims                                                                       (Total of this page)




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                 Case 2:09-bk-56205                           Doc 1           Filed 06/02/09 Entered 06/02/09 15:04:17                              Desc Main
                                                                             Document      Page 17 of 63
 B6D (Official Form 6D) (12/07) - Cont.




   In re          Gregory P. Mild,                                                                                                Case No.
                  Cynthia S. Mild
                                                                                                                     ,
                                                                                                     Debtors

                                      SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                                                                                         (Continuation Sheet)

                                                                C   Husband, Wife, Joint, or Community                        C    U   D     AMOUNT OF
             CREDITOR'S NAME                                    O                                                             O    N   I
                                                                D   H            DATE CLAIM WAS INCURRED,                     N    L   S        CLAIM
           AND MAILING ADDRESS                                  E                                                             T    I   P       WITHOUT        UNSECURED
                                                                    W              NATURE OF LIEN, AND                                                        PORTION, IF
            INCLUDING ZIP CODE,                                 B
                                                                                  DESCRIPTION AND VALUE
                                                                                                                              I    Q   U
                                                                                                                                              DEDUCTING
                                                                T   J                                                         N    U   T                         ANY
           AND ACCOUNT NUMBER                                   O   C                  OF PROPERTY                            G    I   E       VALUE OF
              (See instructions.)                               R
                                                                                      SUBJECT TO LIEN                         E    D   D     COLLATERAL
                                                                                                                              N    A
                                                                                                                              T    T
Account No. 010910077681                                                Opened 8/01/06 Last Active 8/22/08                         E
                                                                                                                                   D

GMAC                                                                    2006 Chevy HHR
Po Box 130424
Roseville, MN 55113
                                                                    H

                                                                         Value $                               8,825.00                         15,528.00             6,703.00
Account No. 4800084846971                                               Opened 9/01/04 Last Active 4/29/08

Green Point Savings                                                     First Mortgage
Po Box 84013
Columbus, GA 31908                                                    2400 Minerva Park Place
                                                                    J Columbus, Ohio

                                                                         Value $                           169,600.00                          134,130.00                   0.00
Account No. 4800084846989                                               Opened 9/01/04 Last Active 5/14/08

Green Point Savings                                                     Second Mortgage
Po Box 84013
Columbus, GA 31908                                                    2400 Minerva Park Place
                                                                    J Columbus, Ohio

                                                                         Value $                           169,600.00                           16,822.00                   0.00
Account No. 3000237646                                                  Opened 2/01/04 Last Active 5/13/08

Us Bank                                                                 Second Mortgage
Attn: Bankruptcy Dept.
P.O. Box 5229                                                         85 Haddam Place W
                                                                    H Westerville, Ohio 43081
Cincinnati, OH 45201

                                                                         Value $                           177,900.00                           29,165.00           15,886.00
Account No. 7080156262172                                               Opened 11/01/06 Last Active 4/29/08

Wells Fargo Hm Mortgag                                                  2040 Hegemon Crest
Attention: Bankruptcy Department                                        Columbus, Ohio
MAC-X
                                                                    J
3476 Stateview Blvd
Fort Mill, SC 29715
                                                                         Value $                           160,200.00                          116,009.00                   0.00
       5
Sheet _____    6
            of _____  continuation sheets attached to                                                                      Subtotal
                                                                                                                                               311,654.00           22,589.00
Schedule of Creditors Holding Secured Claims                                                                      (Total of this page)




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                 Case 2:09-bk-56205                           Doc 1           Filed 06/02/09 Entered 06/02/09 15:04:17                             Desc Main
                                                                             Document      Page 18 of 63
 B6D (Official Form 6D) (12/07) - Cont.




   In re          Gregory P. Mild,                                                                                               Case No.
                  Cynthia S. Mild
                                                                                                                    ,
                                                                                                     Debtors

                                      SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                                                                                         (Continuation Sheet)

                                                                C   Husband, Wife, Joint, or Community                       C    U   D     AMOUNT OF
             CREDITOR'S NAME                                    O                                                            O    N   I
                                                                D   H            DATE CLAIM WAS INCURRED,                    N    L   S        CLAIM
           AND MAILING ADDRESS                                  E                                                            T    I   P       WITHOUT        UNSECURED
                                                                    W              NATURE OF LIEN, AND                                                       PORTION, IF
            INCLUDING ZIP CODE,                                 B
                                                                                  DESCRIPTION AND VALUE
                                                                                                                             I    Q   U
                                                                                                                                             DEDUCTING
                                                                T   J                                                        N    U   T                         ANY
           AND ACCOUNT NUMBER                                   O   C                  OF PROPERTY                           G    I   E       VALUE OF
              (See instructions.)                               R
                                                                                      SUBJECT TO LIEN                        E    D   D     COLLATERAL
                                                                                                                             N    A
                                                                                                                             T    T
Account No.                                                                                                                       E
                                                                         Lerner, Sampson & Rothfuss                               D

Representing:                                                            Matthew A. Taulbee
Wells Fargo Hm Mortgag                                                   P.O. Box 5480
                                                                         Cincinnati, OH 45201


                                                                         Value $
Account No.




                                                                         Value $
Account No.




                                                                         Value $
Account No.




                                                                         Value $
Account No.




                                                                         Value $
       6
Sheet _____    6
            of _____  continuation sheets attached to                                                                     Subtotal
                                                                                                                                                    0.00                   0.00
Schedule of Creditors Holding Secured Claims                                                                     (Total of this page)
                                                                                                                             Total          2,575,168.00         192,979.00
                                                                                                   (Report on Summary of Schedules)

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                Case 2:09-bk-56205                           Doc 1           Filed 06/02/09 Entered 06/02/09 15:04:17                             Desc Main
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B6E (Official Form 6E) (12/07)


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  In re          Gregory P. Mild,                                                                                         Case No.
                 Cynthia S. Mild
                                                                                                              ,
                                                                                           Debtors
                     SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
           A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of unsecured claims entitled
     to priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing address, including zip code, and last four digits of the
     account number, if any, of all entities holding priority claims against the debtor or the property of the debtor, as of the date of the filing of the petition. Use a separate
     continuation sheet for each type of priority and label each with the type of priority.
           The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if the debtor chooses to do
     so. If a minor child is a creditor, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian."
     Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
           If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
     schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
     liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the claim is contingent, place an "X" in the
     column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the claim is disputed, place an "X" in the column labeled
     "Disputed." (You may need to place an "X" in more than one of these three columns.)
           Report the total of claims listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all claims listed on this Schedule E in the box labeled
     "Total" on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.
           Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts entitled to priority
     listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this total
     also on the Statistical Summary of Certain Liabilities and Related Data.
           Report the total of amounts not entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts not entitled to
     priority listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this
     total also on the Statistical Summary of Certain Liabilities and Related Data.

          Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

     TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)
          Domestic support obligations
         Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian, or responsible relative
     of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in 11 U.S.C. § 507(a)(1).

          Extensions of credit in an involuntary case
         Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the appointment of a
     trustee or the order for relief. 11 U.S.C. § 507(a)(3).

          Wages, salaries, and commissions
         Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying independent sales
     representatives up to $10,950* per person earned within 180 days immediately preceding the filing of the original petition, or the cessation of business, whichever
     occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

          Contributions to employee benefit plans
        Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the cessation of business,
     whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).

          Certain farmers and fishermen
          Claims of certain farmers and fishermen, up to $5,400* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).

          Deposits by individuals
         Claims of individuals up to $2,425* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use, that were not
     delivered or provided. 11 U.S.C. § 507(a)(7).

          Taxes and certain other debts owed to governmental units
          Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).

          Commitments to maintain the capital of an insured depository institution
        Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of Governors of the Federal
     Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C. § 507 (a)(9).

          Claims for death or personal injury while debtor was intoxicated
        Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using alcohol, a drug, or
     another substance. 11 U.S.C. § 507(a)(10).




     * Amounts are subject to adjustment on April 1, 2010, and every three years thereafter with respect to cases commenced on or after the date of adjustment.
                                                                                0   continuation sheets attached
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                                                                             Document      Page 20 of 63
 B6F (Official Form 6F) (12/07)


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   In re          Gregory P. Mild,                                                                                            Case No.
                  Cynthia S. Mild
                                                                                                                          ,
                                                                                                        Debtors

                 SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
       State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without priority against the
 debtor or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the
 trustee and the creditor and may be provided if the debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address of the child's
 parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). Do not
 include claims listed in Schedules D and E. If all creditors will not fit on this page, use the continuation sheet provided.
       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
 schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
 liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community."
       If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the
 claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these three columns.)
       Report the total of all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on the Summary of
 Schedules and, if the debtor is an individual with primarily consumer debts, report this total also on the Statistical Summary of Certain Liabilities and Related Data.


       Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.

                                                                                 C   Husband, Wife, Joint, or Community                      C   U   D
                    CREDITOR'S NAME,                                             O                                                           O   N   I
                    MAILING ADDRESS                                              D   H                                                       N   L   S
                  INCLUDING ZIP CODE,                                            E               DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                                     W
                 AND ACCOUNT NUMBER
                                                                                 B             CONSIDERATION FOR CLAIM. IF CLAIM             I   Q   U
                                                                                                                                                         AMOUNT OF CLAIM
                                                                                 T   J                                                       N   U   T
                                                                                 O               IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                   (See instructions above.)                                     R
                                                                                     C
                                                                                                                                             E   D   D
                                                                                                                                             N   A
Account No.                                                                                                                                  T   T
                                                                                                                                                 E
                                                                                                                                                 D

Aduall Mohamed
3861 Cypress Clubway                                                                 J
Columbus, OH 43219

                                                                                                                                                                       Unknown
Account No. xxxx-xxxx-xxxx-1773                                                          CreditCard

Advanta Bank Corp.
P.O. Box 8088                                                                        J
Philadelphia, PA 19101-8088

                                                                                                                                                                          400.00
Account No. 102-138-020-6-8                                                              Utility Debt, 1389 E. Long Street

AEP Ohio
P.O. Box 24418                                                                       J
Canton, OH 44701

                                                                                                                                                                          107.64
Account No.                                                                              Utility Debt

AEP Ohio
P.O. Box 24401                                                                       J
Canton, OH 44701-4401

                                                                                                                                                                        1,000.00

                                                                                                                                           Subtotal
 18 continuation sheets attached
_____                                                                                                                                                                   1,507.64
                                                                                                                                 (Total of this page)




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   In re          Gregory P. Mild,                                                                                            Case No.
                  Cynthia S. Mild
                                                                                                                          ,
                                                                                                        Debtors
                 SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                            (Continuation Sheet)




                                                                                 C   Husband, Wife, Joint, or Community                      C   U   D
                    CREDITOR'S NAME,                                             O                                                           O   N   I
                    MAILING ADDRESS                                              D   H                                                       N   L   S
                  INCLUDING ZIP CODE,
                                                                                 E
                                                                                     W
                                                                                                 DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                                 B                                                           I   Q   U
                 AND ACCOUNT NUMBER                                              T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                                 O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                   (See instructions above.)                                     R                                                           E   D   D
                                                                                                                                             N   A
                                                                                                                                             T   T
Account No.                                                                                                                                      E
                                                                                                                                                 D

Akin Law Group
51 Dorchester Square Lane                                                            J
Westerville, OH 43081

                                                                                                                                                                     3,652.93
Account No.                                                                              Columbia Gas of Ohio

Alexandria Vaneck, Esq.
5660 Southwyck Blvd, #110                                                            J
Toledo, OH 43614

                                                                                                                                                                       199.28
Account No.

AT&T Yellow Pages
100 E. Big Beaver Road, 14th Floor                                                   J
Troy, MI 48083

                                                                                                                                                                   30,000.00
Account No.

Avis Budget Group
6 Sylvan Way                                                                         J
Parsippany, NJ 07054

                                                                                                                                                                    Unknown
Account No. 3204                                                                         Opened 7/01/01 Last Active 5/23/08
                                                                                         CreditCard
Bank Of America
Nc4-105-03-14                                                                        J
4161 Piedmont Pkwy
Greensboro, NC 27420
                                                                                                                                                                   21,063.00

           1
Sheet no. _____     18 sheets attached to Schedule of
                of _____                                                                                                                   Subtotal
                                                                                                                                                                   54,915.21
Creditors Holding Unsecured Nonpriority Claims                                                                                   (Total of this page)




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 B6F (Official Form 6F) (12/07) - Cont.




   In re          Gregory P. Mild,                                                                                            Case No.
                  Cynthia S. Mild
                                                                                                                          ,
                                                                                                        Debtors
                 SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                            (Continuation Sheet)




                                                                                 C   Husband, Wife, Joint, or Community                      C   U   D
                    CREDITOR'S NAME,                                             O                                                           O   N   I
                    MAILING ADDRESS                                              D   H                                                       N   L   S
                  INCLUDING ZIP CODE,
                                                                                 E
                                                                                     W
                                                                                                 DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                                 B                                                           I   Q   U
                 AND ACCOUNT NUMBER                                              T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                                 O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                   (See instructions above.)                                     R                                                           E   D   D
                                                                                                                                             N   A
                                                                                                                                             T   T
Account No. 9646                                                                         Opened 4/01/96 Last Active 5/13/08                      E
                                                                                         CreditCard                                              D

Bank Of America
Nc4-105-03-14                                                                        J
4161 Piedmont Pkwy
Greensboro, NC 27420
                                                                                                                                                                   11,508.00
Account No.                                                                              CreditCard

Bank of America- Business Card
P.O. Box 15710                                                                       J
Wilmington, DE 19886-5710

                                                                                                                                                                   12,986.46
Account No. 5156650000                                                                   Opened 8/01/06 Last Active 5/28/08
                                                                                         CreditCard
Barclays Bank Delaware
Attention: Customer Support                                                          H
Department
Po Box 8833
Wilmington, DE 19899                                                                                                                                                 3,599.00
Account No.

Budget Truck
                                                                                     J



                                                                                                                                                                     1,000.00
Account No. 644199                                                                       8/1/08
                                                                                         Columbus Division of Water
Capital Recovery Systems
7500 Cross Pointe Road, Ste S                                                        W
Columbus, OH 43230

                                                                                                                                                                         65.39

           2
Sheet no. _____     18 sheets attached to Schedule of
                of _____                                                                                                                   Subtotal
                                                                                                                                                                   29,158.85
Creditors Holding Unsecured Nonpriority Claims                                                                                   (Total of this page)




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 B6F (Official Form 6F) (12/07) - Cont.




   In re          Gregory P. Mild,                                                                                            Case No.
                  Cynthia S. Mild
                                                                                                                          ,
                                                                                                        Debtors
                 SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                            (Continuation Sheet)




                                                                                 C   Husband, Wife, Joint, or Community                      C   U   D
                    CREDITOR'S NAME,                                             O                                                           O   N   I
                    MAILING ADDRESS                                              D   H                                                       N   L   S
                  INCLUDING ZIP CODE,
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                 AND ACCOUNT NUMBER                                              T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                                 O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                   (See instructions above.)                                     R                                                           E   D   D
                                                                                                                                             N   A
                                                                                                                                             T   T
Account No. 517945649004                                                                 Opened 2/01/03 Last Active 5/13/08                      E
                                                                                         CreditCard                                              D

Chase
800 Brooksedge Blvd                                                                  J
Westerville, OH 43081

                                                                                                                                                                     9,541.00
Account No. 426690102218                                                                 Opened 5/01/03 Last Active 5/13/08
                                                                                         CreditCard
Chase - Cc
Attention: Banktruptcy Department                                                    J
Po Box 100018
Kennesaw, GA 30156
                                                                                                                                                                     8,491.00
Account No. 542418013855                                                                 Opened 10/01/01 Last Active 5/19/08
                                                                                         CreditCard
Citi
Po Box 6241                                                                          J
Sioux Falls, SD 57117

                                                                                                                                                                   15,591.00
Account No. 508116-1242244                                                               2924 Woodland/Utility

City of Columbus
P.O. Box 182882                                                                      J
Columbus, OH 43218

                                                                                                                                                                       480.98
Account No. 508116-1228010                                                               7/11/08
                                                                                         211 S. Warren/Utility Debt
City of Columbus
P.O. Box 182882                                                                      J
Columbus, OH 43218

                                                                                                                                                                       297.45

           3
Sheet no. _____     18 sheets attached to Schedule of
                of _____                                                                                                                   Subtotal
                                                                                                                                                                   34,401.43
Creditors Holding Unsecured Nonpriority Claims                                                                                   (Total of this page)




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                 Case 2:09-bk-56205                           Doc 1           Filed 06/02/09 Entered 06/02/09 15:04:17                               Desc Main
                                                                             Document      Page 24 of 63
 B6F (Official Form 6F) (12/07) - Cont.




   In re          Gregory P. Mild,                                                                                            Case No.
                  Cynthia S. Mild
                                                                                                                          ,
                                                                                                        Debtors
                 SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                            (Continuation Sheet)




                                                                                 C   Husband, Wife, Joint, or Community                      C   U   D
                    CREDITOR'S NAME,                                             O                                                           O   N   I
                    MAILING ADDRESS                                              D   H                                                       N   L   S
                  INCLUDING ZIP CODE,
                                                                                 E
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                                                                                                 DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                                 B                                                           I   Q   U
                 AND ACCOUNT NUMBER                                              T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                                 O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                   (See instructions above.)                                     R                                                           E   D   D
                                                                                                                                             N   A
                                                                                                                                             T   T
Account No. 508116-1228093                                                               7/11/08                                                 E
                                                                                         402 S. Warren Avenue                                    D

City of Columbus
P.O. Box 182882                                                                      J
Columbus, OH 43218

                                                                                                                                                                       553.60
Account No. 508116-1135986                                                               6/6/08
                                                                                         1389 E. Long St./Utility Debt
City of Columbus
Water & Sewer Services                                                               J
P.O. Box 182882
Columbus, OH 43218
                                                                                                                                                                       249.11
Account No. 508116-1010765                                                               7/17/08
                                                                                         2399 Bancroft St/Utility Debt
City of Columbus
Water & Sewer Services                                                               J
P.O. Box 182882
Columbus, OH 43218
                                                                                                                                                                       161.87
Account No. 508116-1010750                                                               7/31/08
                                                                                         2357 Bancroft St/Utility Debt
City of Columbus
Water & Sewer Services                                                               J
P.O. Box 182882
Columbus, OH 43218
                                                                                                                                                                       306.47
Account No. 204801-1212274                                                               8/12/08
                                                                                         2217 Sullivant Ave/Utility Debt
City of Columbus
Water & Sewer Services                                                               J
P.O. Box 182882
Columbus, OH 43218
                                                                                                                                                                     1,704.39

           4
Sheet no. _____     18 sheets attached to Schedule of
                of _____                                                                                                                   Subtotal
                                                                                                                                                                     2,975.44
Creditors Holding Unsecured Nonpriority Claims                                                                                   (Total of this page)




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                 Case 2:09-bk-56205                           Doc 1           Filed 06/02/09 Entered 06/02/09 15:04:17                               Desc Main
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 B6F (Official Form 6F) (12/07) - Cont.




   In re          Gregory P. Mild,                                                                                            Case No.
                  Cynthia S. Mild
                                                                                                                          ,
                                                                                                        Debtors
                 SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                            (Continuation Sheet)




                                                                                 C   Husband, Wife, Joint, or Community                      C   U   D
                    CREDITOR'S NAME,                                             O                                                           O   N   I
                    MAILING ADDRESS                                              D   H                                                       N   L   S
                  INCLUDING ZIP CODE,
                                                                                 E
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                                                                                                 DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                                 B                                                           I   Q   U
                 AND ACCOUNT NUMBER                                              T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                                 O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                   (See instructions above.)                                     R                                                           E   D   D
                                                                                                                                             N   A
                                                                                                                                             T   T
Account No. 508116-1116770                                                               7/17/08                                                 E
                                                                                         2271 Joyce Ave/Utility Debt                             D

City of Columbus
Water & Sewer Services                                                               J
P.O. Box 182882
Columbus, OH 43218
                                                                                                                                                                       202.84
Account No. 508116-1090926                                                               5/20/08
                                                                                         2322 Grasmere Ave/Utility Debt
City of Columbus
Water & Sewer Services                                                               J
P.O. Box 182882
Columbus, OH 43218
                                                                                                                                                                       255.88
Account No. 482817-1151338                                                               8/14/08
                                                                                         2400 Minerva Park Pl/Utility Debt
City of Columbus
Water & Sewer Services                                                               J
P.O. Box 182882
Columbus, OH 43218
                                                                                                                                                                       751.96
Account No. 508116-1256076                                                               6/6/08
                                                                                         2890 E 9th St./Utility Debt
City of Columbus
Water & Sewer Services                                                               J
P.O. Box 182882
Columbus, OH 43218
                                                                                                                                                                       321.73
Account No. 508116-1020412                                                               3/27/08
                                                                                         1684 E. Blake Ave/Utility Debt
City of Columbus
Water & Sewer Services                                                               J
P.O. Box 182882
Columbus, OH 43218
                                                                                                                                                                       216.56

           5
Sheet no. _____     18 sheets attached to Schedule of
                of _____                                                                                                                   Subtotal
                                                                                                                                                                     1,748.97
Creditors Holding Unsecured Nonpriority Claims                                                                                   (Total of this page)




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                 Case 2:09-bk-56205                           Doc 1           Filed 06/02/09 Entered 06/02/09 15:04:17                               Desc Main
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   In re          Gregory P. Mild,                                                                                            Case No.
                  Cynthia S. Mild
                                                                                                                          ,
                                                                                                        Debtors
                 SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                            (Continuation Sheet)




                                                                                 C   Husband, Wife, Joint, or Community                      C   U   D
                    CREDITOR'S NAME,                                             O                                                           O   N   I
                    MAILING ADDRESS                                              D   H                                                       N   L   S
                  INCLUDING ZIP CODE,
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                                                                                                 DATE CLAIM WAS INCURRED AND                 T   I   P
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                 AND ACCOUNT NUMBER                                              T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                                 O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                   (See instructions above.)                                     R                                                           E   D   D
                                                                                                                                             N   A
                                                                                                                                             T   T
Account No. 508116-1066610                                                               3/27/08                                                 E
                                                                                         1345 Duxberry Ave/Utility Debt                          D

City of Columbus
Water & Sewer Services                                                               J
P.O. Box 182882
Columbus, OH 43218
                                                                                                                                                                       232.87
Account No. 508116-1086123                                                               4/9/08
                                                                                         698 Georgian Dr./Utility Debt
City of Columbus
Water & Sewer Services                                                               J
P.O. Box 182882
Columbus, OH 43218
                                                                                                                                                                     1,177.06
Account No. 508116-1112675                                                               4/15/08
                                                                                         1275 Innis Ave/Utility Debt
City of Columbus
Water & Sewer Services                                                               J
P.O. Box 182882
Columbus, OH 43218
                                                                                                                                                                         83.52
Account No. 508116-1156541                                                               4/18/08
                                                                                         1536 Myrtle Ave/Utility Debt
City of Columbus
Water & Sewer Services                                                               J
P.O. Box 182882
Columbus, OH 43218
                                                                                                                                                                       222.62
Account No. 508116-1164906                                                               4/10/08
                                                                                         251 N. Oakley Ave/Utility Debt
City of Columbus
Water & Sewer Services                                                               J
P.O. Box 182882
Columbus, OH 43218
                                                                                                                                                                       235.70

           6
Sheet no. _____     18 sheets attached to Schedule of
                of _____                                                                                                                   Subtotal
                                                                                                                                                                     1,951.77
Creditors Holding Unsecured Nonpriority Claims                                                                                   (Total of this page)




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                 Case 2:09-bk-56205                           Doc 1           Filed 06/02/09 Entered 06/02/09 15:04:17                               Desc Main
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   In re          Gregory P. Mild,                                                                                            Case No.
                  Cynthia S. Mild
                                                                                                                          ,
                                                                                                        Debtors
                 SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                            (Continuation Sheet)




                                                                                 C   Husband, Wife, Joint, or Community                      C   U   D
                    CREDITOR'S NAME,                                             O                                                           O   N   I
                    MAILING ADDRESS                                              D   H                                                       N   L   S
                  INCLUDING ZIP CODE,
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                                                                                                 DATE CLAIM WAS INCURRED AND                 T   I   P
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                 AND ACCOUNT NUMBER                                              T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                                 O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                   (See instructions above.)                                     R                                                           E   D   D
                                                                                                                                             N   A
                                                                                                                                             T   T
Account No. 508116-1185673                                                               4/10/08                                                 E
                                                                                         402 S. Richardson Ave/Utility Debt                      D

City of Columbus
Water & Sewer Services                                                               J
P.O. Box 182882
Columbus, OH 43218
                                                                                                                                                                       234.04
Account No. 508116-1205582                                                               6/13/08
                                                                                         595 Southwood Ave/Utility Debt
City of Columbus
Water & Sewer Services                                                               J
P.O. Box 182882
Columbus, OH 43218
                                                                                                                                                                       193.45
Account No.                                                                              Violations

City of Columbus
Department of Development                                                            J
757 Carloyn Avenue
Columbus, OH 43224
                                                                                                                                                                    Unknown
Account No.                                                                              City of Columbus
                                                                                         57 E. Main Street
Representing:                                                                            Columbus, OH 43215
City of Columbus




Account No. 508116-1166786                                                               4/16/08
                                                                                         1357 S. Ohio/ Utility Debt
City of Columbus Water & Sewer
PO Box 182882                                                                        J
Columbus, OH 43218-2882

                                                                                                                                                                       367.57

           7
Sheet no. _____     18 sheets attached to Schedule of
                of _____                                                                                                                   Subtotal
                                                                                                                                                                       795.06
Creditors Holding Unsecured Nonpriority Claims                                                                                   (Total of this page)




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                 Case 2:09-bk-56205                           Doc 1           Filed 06/02/09 Entered 06/02/09 15:04:17                               Desc Main
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   In re          Gregory P. Mild,                                                                                            Case No.
                  Cynthia S. Mild
                                                                                                                          ,
                                                                                                        Debtors
                 SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                            (Continuation Sheet)




                                                                                 C   Husband, Wife, Joint, or Community                      C   U   D
                    CREDITOR'S NAME,                                             O                                                           O   N   I
                    MAILING ADDRESS                                              D   H                                                       N   L   S
                  INCLUDING ZIP CODE,
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                 AND ACCOUNT NUMBER                                              T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                                 O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                   (See instructions above.)                                     R                                                           E   D   D
                                                                                                                                             N   A
                                                                                                                                             T   T
Account No. 508116-1166784                                                               7/17/08                                                 E
                                                                                         1352 S. Ohio/Utility Debt                               D

City of Columbus Water & Sewer
PO Box 182882                                                                        J
Columbus, OH 43218-2882

                                                                                                                                                                       355.42
Account No. 508116-1249677                                                               7/15/08
                                                                                         740 S. 18th/Utility Debt
City of Columbus Water & Sewer
PO Box 182882                                                                        J
Columbus, OH 43218-2882

                                                                                                                                                                       536.56
Account No. 537200-1124187                                                               7/18/08
                                                                                         2488 Kitchner Drive/Utility Bill
City of Columbus Water & Sewer
PO Box 182882                                                                        J
Columbus, OH 43218-2882

                                                                                                                                                                         64.28
Account No. 508116-1023991                                                               7/15/08
                                                                                         3578 Brandon St/Utility Debt
City of Columbus Water & Sewer
PO Box 182882                                                                        J
Columbus, OH 43218-2882

                                                                                                                                                                       130.98
Account No. 508116-1085417                                                               6/19/08
                                                                                         1019 Geers Ave/Utility Debt
City of Columbus Water & Sewer
PO Box 182882                                                                        J
Columbus, OH 43218-2882

                                                                                                                                                                       257.12

           8
Sheet no. _____     18 sheets attached to Schedule of
                of _____                                                                                                                   Subtotal
                                                                                                                                                                     1,344.36
Creditors Holding Unsecured Nonpriority Claims                                                                                   (Total of this page)




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                 Case 2:09-bk-56205                           Doc 1           Filed 06/02/09 Entered 06/02/09 15:04:17                               Desc Main
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   In re          Gregory P. Mild,                                                                                            Case No.
                  Cynthia S. Mild
                                                                                                                          ,
                                                                                                        Debtors
                 SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                            (Continuation Sheet)




                                                                                 C   Husband, Wife, Joint, or Community                      C   U   D
                    CREDITOR'S NAME,                                             O                                                           O   N   I
                    MAILING ADDRESS                                              D   H                                                       N   L   S
                  INCLUDING ZIP CODE,
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                 AND ACCOUNT NUMBER                                              T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                                 O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                   (See instructions above.)                                     R                                                           E   D   D
                                                                                                                                             N   A
                                                                                                                                             T   T
Account No. 51227-8092                                                                   7/16/08                                                 E
                                                                                         Utility Debt                                            D

City of Westerville
64 E. Walnut Street                                                                  J
P.O. Box 6107
Westerville, OH 43086
                                                                                                                                                                       189.84
Account No. 43793-10490                                                                  Utility Bill

City of Westerville
64 E. Walnut Street                                                                  J
P.O. Box 6107
Westerville, OH 43086
                                                                                                                                                                       114.95
Account No. x3793                                                                        4/3/09
                                                                                         Utility Debt
City of Westerville
21 S. State Street                                                                   J
Westerville, OH 43081

                                                                                                                                                                         40.63
Account No.                                                                              CBCS
                                                                                         P.O. Box 165025
Representing:                                                                            Columbus, OH 43216
City of Westerville




Account No. xxxx-xxxx-xxxx-3162                                                          Bank of America

CollectCorp Corporation
455 North 3rd Street, Suite 260                                                      J
Phoenix, AZ 85004-3924

                                                                                                                                                                   12,330.22

           9
Sheet no. _____     18 sheets attached to Schedule of
                of _____                                                                                                                   Subtotal
                                                                                                                                                                   12,675.64
Creditors Holding Unsecured Nonpriority Claims                                                                                   (Total of this page)




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                 Case 2:09-bk-56205                           Doc 1           Filed 06/02/09 Entered 06/02/09 15:04:17                               Desc Main
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 B6F (Official Form 6F) (12/07) - Cont.




   In re          Gregory P. Mild,                                                                                            Case No.
                  Cynthia S. Mild
                                                                                                                          ,
                                                                                                        Debtors
                 SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                            (Continuation Sheet)




                                                                                 C   Husband, Wife, Joint, or Community                      C   U   D
                    CREDITOR'S NAME,                                             O                                                           O   N   I
                    MAILING ADDRESS                                              D   H                                                       N   L   S
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                 AND ACCOUNT NUMBER                                              T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                                 O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                   (See instructions above.)                                     R                                                           E   D   D
                                                                                                                                             N   A
                                                                                                                                             T   T
Account No.                                                                                                                                      E
                                                                                                                                                 D

Columbia Gas
PO Box 9001847                                                                       J
Louisville, KY 40290-1847

                                                                                                                                                                     1,000.00
Account No.

Contact Transportation
815 Franklin Court                                                                   J
Columbus, OH 43085

                                                                                                                                                                   75,000.00
Account No. 4266-9010-2218-5102                                                          2/10/09
                                                                                         Chase Manhattan Bank USA, N.A.
Creditors Interchange, Inc.
PO Box 2270                                                                          J
Buffalo, NY 14240-1335

                                                                                                                                                                     9,494.13
Account No.

David Pettit
6811 Paul Road                                                                       J
Westerville, OH 43082

                                                                                                                                                                     3,600.00
Account No. 508116-11667876                                                              7/7/08
                                                                                         1357 S Ohio Avenue (utility Debt)
Department of Public Utilities
Division of Water                                                                    J
910 Dublin Road
Columbus, OH 43215-1116
                                                                                                                                                                       285.74

           10 of _____
Sheet no. _____    18 sheets attached to Schedule of                                                                                       Subtotal
                                                                                                                                                                   89,379.87
Creditors Holding Unsecured Nonpriority Claims                                                                                   (Total of this page)




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                 Case 2:09-bk-56205                           Doc 1           Filed 06/02/09 Entered 06/02/09 15:04:17                               Desc Main
                                                                             Document      Page 31 of 63
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   In re          Gregory P. Mild,                                                                                            Case No.
                  Cynthia S. Mild
                                                                                                                          ,
                                                                                                        Debtors
                 SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                            (Continuation Sheet)




                                                                                 C   Husband, Wife, Joint, or Community                      C   U   D
                    CREDITOR'S NAME,                                             O                                                           O   N   I
                    MAILING ADDRESS                                              D   H                                                       N   L   S
                  INCLUDING ZIP CODE,
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                 AND ACCOUNT NUMBER                                              T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                                 O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                   (See instructions above.)                                     R                                                           E   D   D
                                                                                                                                             N   A
                                                                                                                                             T   T
Account No. 5467000128159030                                                             Opened 12/01/05 Last Active 5/19/08                     E
                                                                                         CreditCard                                              D

Fifth Third Bank
C/O Bankruptcy Dept, Mdropso5                                                        J
1850 East Paris
Grand Rapids, MI 49546
                                                                                                                                                                     5,623.00
Account No. 5467000128121469                                                             Opened 7/01/05 Last Active 5/07/08
                                                                                         CreditCard
Fifth Third Bank
C/O Bankruptcy Dept, Mdropso5                                                        J
1850 East Paris
Grand Rapids, MI 49546
                                                                                                                                                                     2,720.00
Account No. 8223                                                                         Overdraft protection

Fifth Third Bank
P.O. Box 630900                                                                      J
Cincinnati, OH 45263-0900

                                                                                                                                                                       692.52
Account No. 0969                                                                         Overdraft protection

Fifth Third Bank
P.O. Box 630900                                                                      J
Cincinnati, OH 45263-0900

                                                                                                                                                                       735.00
Account No. 4483                                                                         Overdraft protection

Fifth Third Bank
P.O. Box 630900                                                                      J
Cincinnati, OH 45263-0900

                                                                                                                                                                       886.67

           11 of _____
Sheet no. _____    18 sheets attached to Schedule of                                                                                       Subtotal
                                                                                                                                                                   10,657.19
Creditors Holding Unsecured Nonpriority Claims                                                                                   (Total of this page)




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                 Case 2:09-bk-56205                           Doc 1           Filed 06/02/09 Entered 06/02/09 15:04:17                               Desc Main
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   In re          Gregory P. Mild,                                                                                            Case No.
                  Cynthia S. Mild
                                                                                                                          ,
                                                                                                        Debtors
                 SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                            (Continuation Sheet)




                                                                                 C   Husband, Wife, Joint, or Community                      C   U   D
                    CREDITOR'S NAME,                                             O                                                           O   N   I
                    MAILING ADDRESS                                              D   H                                                       N   L   S
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                 AND ACCOUNT NUMBER                                              T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
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                   (See instructions above.)                                     R                                                           E   D   D
                                                                                                                                             N   A
                                                                                                                                             T   T
Account No. 12402369                                                                     Barnes & Noble                                          E
                                                                                                                                                 D

Firstsource Advantage Collection
205 Bryant Woods South                                                               J
Buffalo, NY 14228

                                                                                                                                                                     4,131.10
Account No. 603462000734                                                                 Opened 12/01/05 Last Active 5/18/08
                                                                                         ChargeAccount
Gemb/bargin Outlet
Po Box 981439                                                                        J
El Paso, TX 79998

                                                                                                                                                                     3,839.00
Account No. 700119111555                                                                 Opened 4/01/02 Last Active 5/28/08
                                                                                         ChargeAccount
Hsbc/bsbuy
Pob 15521                                                                            H
Wilmington, DE 19805

                                                                                                                                                                       268.00
Account No.                                                                              Central Portfolio Control
                                                                                         6640 Shady Oak Road # 300
Representing:                                                                            Eden Prairie, MN 55344
Hsbc/bsbuy




Account No.                                                                              Sherman Originator LLC
                                                                                         P.O. Box 10497
Representing:                                                                            Greenville, SC 29603
Hsbc/bsbuy




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Sheet no. _____    18 sheets attached to Schedule of                                                                                       Subtotal
                                                                                                                                                                     8,238.10
Creditors Holding Unsecured Nonpriority Claims                                                                                   (Total of this page)




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                 Case 2:09-bk-56205                           Doc 1           Filed 06/02/09 Entered 06/02/09 15:04:17                               Desc Main
                                                                             Document      Page 33 of 63
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   In re          Gregory P. Mild,                                                                                            Case No.
                  Cynthia S. Mild
                                                                                                                          ,
                                                                                                        Debtors
                 SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                            (Continuation Sheet)




                                                                                 C   Husband, Wife, Joint, or Community                      C   U   D
                    CREDITOR'S NAME,                                             O                                                           O   N   I
                    MAILING ADDRESS                                              D   H                                                       N   L   S
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                                                                                 O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                   (See instructions above.)                                     R                                                           E   D   D
                                                                                                                                             N   A
                                                                                                                                             T   T
Account No.                                                                                                                                      E
                                                                                                                                                 D

John & Wena Henson
7648 Red Bay Court                                                                   J
Dublin, OH 43016

                                                                                                                                                                    Unknown
Account No.

Key Bank
P.O. Box 8115                                                                        J
South Hackensack, NJ 07606

                                                                                                                                                                     1,000.00
Account No. 048576466652                                                                 Opened 8/01/07 Last Active 5/13/08
                                                                                         CreditCard
Kohls
Attn: Recovery                                                                       H
Po Box 3120
Milwaukee, WI 53201
                                                                                                                                                                     1,214.00
Account No. 040612336452                                                                 Opened 11/01/04 Last Active 6/18/08
                                                                                         CreditCard
Kohls
Attn: Recovery                                                                       J
Po Box 3120
Milwaukee, WI 53201
                                                                                                                                                                     1,195.00
Account No.

Larry Cline
3101 Africa Rd.                                                                      J
Galena, OH 43021

                                                                                                                                                                   12,000.00

           13 of _____
Sheet no. _____    18 sheets attached to Schedule of                                                                                       Subtotal
                                                                                                                                                                   15,409.00
Creditors Holding Unsecured Nonpriority Claims                                                                                   (Total of this page)




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                 Case 2:09-bk-56205                           Doc 1           Filed 06/02/09 Entered 06/02/09 15:04:17                               Desc Main
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   In re          Gregory P. Mild,                                                                                            Case No.
                  Cynthia S. Mild
                                                                                                                          ,
                                                                                                        Debtors
                 SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                            (Continuation Sheet)




                                                                                 C   Husband, Wife, Joint, or Community                      C   U   D
                    CREDITOR'S NAME,                                             O                                                           O   N   I
                    MAILING ADDRESS                                              D   H                                                       N   L   S
                  INCLUDING ZIP CODE,
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                                                                                                 DATE CLAIM WAS INCURRED AND                 T   I   P
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                 AND ACCOUNT NUMBER                                              T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                                 O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                   (See instructions above.)                                     R                                                           E   D   D
                                                                                                                                             N   A
                                                                                                                                             T   T
Account No.                                                                              11/20/08                                                E
                                                                                         MidState Educators Credit Union, Inc.                   D

Law of Jeffrey B. Sams LLC
1579 Crosscreeks Boulevard                                                           J
Pickerington, OH 43147

                                                                                                                                                                     6,500.00
Account No.

Lowe's Commercial Services
P.O. Box 530970                                                                      J
Atlanta, GA 30353-0970

                                                                                                                                                                   20,000.00
Account No.

Matt & Kim Wajda
7140 Asheville Park Drive                                                            J
Columbus, OH 43235

                                                                                                                                                                    Unknown
Account No. 167940500                                                                    Opened 12/01/99 Last Active 5/16/08
                                                                                         CreditCard
Midstate Educators Cu
399 E Livingston Ave                                                                 J
Columbus, OH 43215

                                                                                                                                                                     6,088.00
Account No.

Mini Storage Depot
9984 Old State Road                                                                  J
Lewis Center, OH 43035

                                                                                                                                                                     1,000.00

           14 of _____
Sheet no. _____    18 sheets attached to Schedule of                                                                                       Subtotal
                                                                                                                                                                   33,588.00
Creditors Holding Unsecured Nonpriority Claims                                                                                   (Total of this page)




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 B6F (Official Form 6F) (12/07) - Cont.




   In re          Gregory P. Mild,                                                                                            Case No.
                  Cynthia S. Mild
                                                                                                                          ,
                                                                                                        Debtors
                 SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                            (Continuation Sheet)




                                                                                 C   Husband, Wife, Joint, or Community                      C   U   D
                    CREDITOR'S NAME,                                             O                                                           O   N   I
                    MAILING ADDRESS                                              D   H                                                       N   L   S
                  INCLUDING ZIP CODE,
                                                                                 E
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                                                                                                 DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                                 B                                                           I   Q   U
                 AND ACCOUNT NUMBER                                              T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                                 O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                   (See instructions above.)                                     R                                                           E   D   D
                                                                                                                                             N   A
                                                                                                                                             T   T
Account No.                                                                                                                                      E
                                                                                                                                                 D

National Administrative Solutions
Corp                                                                                 J
5747 Perimeter Drive, Ste, 200
Dublin, OH 43017
                                                                                                                                                                   10,000.00
Account No. 07281019021                                                                  9/16/08
                                                                                         Fifth Third Bank of Columbus
Nationwide Credit Inc.
2015 Vaughn Road                                                                     J
Building 400
Kennesaw, GA 30144
                                                                                                                                                                       202.42
Account No. ILF3000237646                                                                US Bank

NCB Management Services, Inc
P.O. Box 1099                                                                        J
Langhorne, PA 19047

                                                                                                                                                                   29,837.64
Account No.

Ohio Mutual Insurance Group
P.O. BOx 740656                                                                      J
Cincinnati, OH 45274

                                                                                                                                                                    Unknown
Account No. xxxxxx5302                                                                   11/27/08
                                                                                         Vonage (Phone Services)
Penn Credit Corporation
P.O. Box 988                                                                         J
Harrisburg, PA 17108-0988

                                                                                                                                                                     1,000.00

           15 of _____
Sheet no. _____    18 sheets attached to Schedule of                                                                                       Subtotal
                                                                                                                                                                   41,040.06
Creditors Holding Unsecured Nonpriority Claims                                                                                   (Total of this page)




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 B6F (Official Form 6F) (12/07) - Cont.




   In re          Gregory P. Mild,                                                                                            Case No.
                  Cynthia S. Mild
                                                                                                                          ,
                                                                                                        Debtors
                 SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                            (Continuation Sheet)




                                                                                 C   Husband, Wife, Joint, or Community                      C   U   D
                    CREDITOR'S NAME,                                             O                                                           O   N   I
                    MAILING ADDRESS                                              D   H                                                       N   L   S
                  INCLUDING ZIP CODE,
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                                                                                                 DATE CLAIM WAS INCURRED AND                 T   I   P
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                 AND ACCOUNT NUMBER                                              T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                                 O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                   (See instructions above.)                                     R                                                           E   D   D
                                                                                                                                             N   A
                                                                                                                                             T   T
Account No. xxxxxxx6862                                                                                                                          E
                                                                                                                                                 D

Pitney Bowes
PO Box 856390                                                                        J
Louisville, KY 40285-6390

                                                                                                                                                                         96.03
Account No.

Richard Stearns
111 Kilbourne Dr.                                                                    J
Bucyrus, OH 44820

                                                                                                                                                                   20,000.00
Account No.

Ryder Truck
11690 NW 105th St                                                                    J
Miami, FL 33178

                                                                                                                                                                    Unknown
Account No. 771410030433                                                                 Opened 10/01/04 Last Active 5/23/08
                                                                                         ChargeAccount
Sams Club
Attention: Bankruptcy Department                                                     J
Po Box 103104
Roswell, GA 30076
                                                                                                                                                                       218.00
Account No. 8528872253                                                                   Opened 1/01/02 Last Active 5/13/08
                                                                                         Educational
Slm Entities/glelsi
2401 International Ln                                                                J
Madison, WI 53704

                                                                                                                                                                   10,745.00

           16 of _____
Sheet no. _____    18 sheets attached to Schedule of                                                                                       Subtotal
                                                                                                                                                                   31,059.03
Creditors Holding Unsecured Nonpriority Claims                                                                                   (Total of this page)




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   In re          Gregory P. Mild,                                                                                            Case No.
                  Cynthia S. Mild
                                                                                                                          ,
                                                                                                        Debtors
                 SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                            (Continuation Sheet)




                                                                                 C   Husband, Wife, Joint, or Community                      C   U   D
                    CREDITOR'S NAME,                                             O                                                           O   N   I
                    MAILING ADDRESS                                              D   H                                                       N   L   S
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                 AND ACCOUNT NUMBER                                              T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
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                   (See instructions above.)                                     R                                                           E   D   D
                                                                                                                                             N   A
                                                                                                                                             T   T
Account No. 5490-3529-9993-3162                                                          Bank of America                                         E
                                                                                                                                                 D

Sunrise Credit Services
P.O. Box 9100                                                                        J
Farmingdale, NY 11735-9100

                                                                                                                                                                   12,330.22
Account No. 4352375045480763                                                             Opened 5/01/02 Last Active 5/18/08
                                                                                         CreditCard
Target N.b.
Po Box 673                                                                           J
Minneapolis, MN 55440

                                                                                                                                                                     4,703.00
Account No.

Thomas Sherer
2308 Milan Road Apt. 205                                                             J
Sandusky, OH 44870

                                                                                                                                                                    Unknown
Account No. 549113032538                                                                 Opened 12/01/01 Last Active 5/09/08
                                                                                         CreditCard
Unvl/citi
Attn.: Centralized Bankruptcy                                                        J
Po Box 20507
Kansas City, MO 64195
                                                                                                                                                                     9,326.00
Account No. 4037696706002221                                                             Opened 7/01/05 Last Active 5/08/08
                                                                                         CreditCard
Us Bank/na Nd
4325 17th Ave S                                                                      J
Fargo, ND 58125

                                                                                                                                                                     7,744.00

           17 of _____
Sheet no. _____    18 sheets attached to Schedule of                                                                                       Subtotal
                                                                                                                                                                   34,103.22
Creditors Holding Unsecured Nonpriority Claims                                                                                   (Total of this page)




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 B6F (Official Form 6F) (12/07) - Cont.




   In re          Gregory P. Mild,                                                                                                  Case No.
                  Cynthia S. Mild
                                                                                                                           ,
                                                                                                        Debtors
                 SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                            (Continuation Sheet)




                                                                                 C   Husband, Wife, Joint, or Community                             C   U   D
                    CREDITOR'S NAME,                                             O                                                                  O   N   I
                    MAILING ADDRESS                                              D   H                                                              N   L   S
                  INCLUDING ZIP CODE,
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                 AND ACCOUNT NUMBER                                              T   J         CONSIDERATION FOR CLAIM. IF CLAIM                    N   U   T   AMOUNT OF CLAIM
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                   (See instructions above.)                                     R                                                                  E   D   D
                                                                                                                                                    N   A
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Account No. 2778282063                                                                   Opened 9/01/04 Last Active 8/01/08                             E
                                                                                         Educational                                                    D

Us Dept Of Education
Attn: Borrowers Service Dept                                                         H
Po Box 5609
Greenville, TX 75403
                                                                                                                                                                            7,054.00
Account No.

Verizon Wireless
P.O. Box 790406                                                                      J
Saint Louis, MO 63179-0406

                                                                                                                                                                            1,000.00
Account No.

Wesley Wallace
10615 Laguana Circle                                                                 J
Plain City, OH 43064

                                                                                                                                                                          40,000.00
Account No.




Account No.




           18 of _____
Sheet no. _____    18 sheets attached to Schedule of                                                                                              Subtotal
                                                                                                                                                                          48,054.00
Creditors Holding Unsecured Nonpriority Claims                                                                                          (Total of this page)
                                                                                                                                                    Total
                                                                                                                          (Report on Summary of Schedules)              453,002.84


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B6G (Official Form 6G) (12/07)


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  In re             Gregory P. Mild,                                                                               Case No.
                    Cynthia S. Mild
                                                                                                        ,
                                                                                        Debtors
                         SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
               Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests. State nature
               of debtor's interest in contract, i.e., "Purchaser", "Agent", etc. State whether debtor is the lessor or lessee of a lease. Provide the names and
               complete mailing addresses of all other parties to each lease or contract described. If a minor child is a party to one of the leases or contracts,
               state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not
               disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
                  Check this box if debtor has no executory contracts or unexpired leases.
                                                                                         Description of Contract or Lease and Nature of Debtor's Interest.
                   Name and Mailing Address, Including Zip Code,                              State whether lease is for nonresidential real property.
                       of Other Parties to Lease or Contract                                    State contract number of any government contract.




       0
                 continuation sheets attached to Schedule of Executory Contracts and Unexpired Leases
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                Case 2:09-bk-56205                           Doc 1           Filed 06/02/09 Entered 06/02/09 15:04:17         Desc Main
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B6H (Official Form 6H) (12/07)


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  In re          Gregory P. Mild,                                                                         Case No.
                 Cynthia S. Mild
                                                                                                   ,
                                                                                        Debtors
                                                                      SCHEDULE H - CODEBTORS
         Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed
     by debtor in the schedules of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property state,
     commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or
     Wisconsin) within the eight year period immediately preceding the commencement of the case, identify the name of the debtor's spouse and of
     any former spouse who resides or resided with the debtor in the community property state, commonwealth, or territory. Include all names used
     by the nondebtor spouse during the eight years immediately preceding the commencement of this case. If a minor child is a codebtor or a creditor,
     state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not
     disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
         Check this box if debtor has no codebtors.
                  NAME AND ADDRESS OF CODEBTOR                                             NAME AND ADDRESS OF CREDITOR

                  Faith & Daniel Waddell
                  189 Brisbane Ave.
                  Westerville, Ohio 43081




       0
               continuation sheets attached to Schedule of Codebtors
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          Case 2:09-bk-56205                Doc 1      Filed 06/02/09 Entered 06/02/09 15:04:17                               Desc Main
                                                      Document      Page 41 of 63
B6I (Official Form 6I) (12/07)

          Gregory P. Mild
 In re    Cynthia S. Mild                                                                               Case No.
                                                                         Debtor(s)

                           SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
The column labeled "Spouse" must be completed in all cases filed by joint debtors and by every married debtor, whether or not a joint petition is
filed, unless the spouses are separated and a joint petition is not filed. Do not state the name of any minor child. The average monthly income
calculated on this form may differ from the current monthly income calculated on Form 22A, 22B, or 22C.
Debtor's Marital Status:                                                  DEPENDENTS OF DEBTOR AND SPOUSE
                                        RELATIONSHIP(S):                                             AGE(S):
      Married                                Son                                                         15
                                             Son                                                         9
Employment:                                          DEBTOR                                                        SPOUSE
Occupation                           Teacher
Name of Employer                     Columbus City Schools                                   Unemployed
How long employed
Address of Employer

INCOME: (Estimate of average or projected monthly income at time case filed)                                   DEBTOR                     SPOUSE
1. Monthly gross wages, salary, and commissions (Prorate if not paid monthly)                            $       5,362.50         $            0.00
2. Estimate monthly overtime                                                                             $           0.00         $            0.00

3. SUBTOTAL                                                                                              $         5,362.50       $             0.00

4. LESS PAYROLL DEDUCTIONS
     a. Payroll taxes and social security                                                                $          745.75        $             0.00
     b. Insurance                                                                                        $          131.21        $             0.00
     c. Union dues                                                                                       $            0.00        $             0.00
     d. Other (Specify):       STRS                                                                      $          536.25        $             0.00
                                                                                                         $            0.00        $             0.00

5. SUBTOTAL OF PAYROLL DEDUCTIONS                                                                        $         1,413.21       $             0.00

6. TOTAL NET MONTHLY TAKE HOME PAY                                                                       $         3,949.29       $             0.00

7. Regular income from operation of business or profession or farm (Attach detailed statement)           $             0.00       $             0.00
8. Income from real property                                                                             $             0.00       $             0.00
9. Interest and dividends                                                                                $             0.00       $             0.00
10. Alimony, maintenance or support payments payable to the debtor for the debtor's use or that of
      dependents listed above                                                                            $             0.00       $             0.00
11. Social security or government assistance
(Specify):                                                                                               $             0.00       $             0.00
                                                                                                         $             0.00       $             0.00
12. Pension or retirement income                                                                         $             0.00       $             0.00
13. Other monthly income
(Specify):                                                                                               $             0.00       $             0.00
                                                                                                         $             0.00       $             0.00


14. SUBTOTAL OF LINES 7 THROUGH 13                                                                       $             0.00       $             0.00

15. AVERAGE MONTHLY INCOME (Add amounts shown on lines 6 and 14)                                         $         3,949.29       $             0.00

16. COMBINED AVERAGE MONTHLY INCOME: (Combine column totals from line 15)                     $              3,949.29
                                                             (Report also on Summary of Schedules and, if applicable, on
                                                             Statistical Summary of Certain Liabilities and Related Data)
 17. Describe any increase or decrease in income reasonably anticipated to occur within the year following the filing of this document:
         none
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                                                 Document      Page 42 of 63
B6J (Official Form 6J) (12/07)

          Gregory P. Mild
 In re    Cynthia S. Mild                                                                     Case No.
                                                                  Debtor(s)

         SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
     Complete this schedule by estimating the average or projected monthly expenses of the debtor and the debtor's family at time case
filed. Prorate any payments made bi-weekly, quarterly, semi-annually, or annually to show monthly rate. The average monthly
expenses calculated on this form may differ from the deductions from income allowed on Form 22A or 22C.

    Check this box if a joint petition is filed and debtor's spouse maintains a separate household. Complete a separate schedule of
expenditures labeled "Spouse."
1. Rent or home mortgage payment (include lot rented for mobile home)                                       $                 1,637.00
 a. Are real estate taxes included?                            Yes X              No
 b. Is property insurance included?                            Yes X              No
2. Utilities:      a. Electricity and heating fuel                                                          $                   400.00
                   b. Water and sewer                                                                       $                    30.00
                   c. Telephone                                                                             $                    30.00
                   d. Other See Detailed Expense Attachment                                                 $                   360.00
3. Home maintenance (repairs and upkeep)                                                                    $                    50.00
4. Food                                                                                                     $                   600.00
5. Clothing                                                                                                 $                    75.00
6. Laundry and dry cleaning                                                                                 $                    10.00
7. Medical and dental expenses                                                                              $                   130.00
8. Transportation (not including car payments)                                                              $                   225.00
9. Recreation, clubs and entertainment, newspapers, magazines, etc.                                         $                     0.00
10. Charitable contributions                                                                                $                     0.00
11. Insurance (not deducted from wages or included in home mortgage payments)
                   a. Homeowner's or renter's                                                               $                     0.00
                   b. Life                                                                                  $                    33.00
                   c. Health                                                                                $                     0.00
                   d. Auto                                                                                  $                   233.00
                   e. Other                                                                                 $                     0.00
12. Taxes (not deducted from wages or included in home mortgage payments)
                 (Specify)                                                                                   $                    0.00
13. Installment payments: (In chapter 11, 12, and 13 cases, do not list payments to be included in the
plan)
                   a. Auto                                                                                  $                   366.00
                   b. Other Student Loans                                                                   $                   220.00
                   c. Other                                                                                 $                     0.00
14. Alimony, maintenance, and support paid to others                                                        $                     0.00
15. Payments for support of additional dependents not living at your home                                   $                     0.00
16. Regular expenses from operation of business, profession, or farm (attach detailed statement)            $                     0.00
17. Other Second Mortgage                                                                                   $                   600.00
    Other Personal Hygiene                                                                                  $                   125.00

18. AVERAGE MONTHLY EXPENSES (Total lines 1-17. Report also on Summary of Schedules and,                    $                 5,124.00
if applicable, on the Statistical Summary of Certain Liabilities and Related Data.)
19. Describe any increase or decrease in expenditures reasonably anticipated to occur within the year
following the filing of this document:
      none
20. STATEMENT OF MONTHLY NET INCOME
a. Average monthly income from Line 15 of Schedule I                                                        $                 3,949.29
b. Average monthly expenses from Line 18 above                                                              $                 5,124.00
c. Monthly net income (a. minus b.)                                                                         $                -1,174.71
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B6J (Official Form 6J) (12/07)
          Gregory P. Mild
 In re    Cynthia S. Mild                                                  Case No.
                                                       Debtor(s)

                   SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
                                           Detailed Expense Attachment
Other Utility Expenditures:
Cable/Internet                                                                        $               110.00
Cell Phone                                                                            $               250.00
Total Other Utility Expenditures                                                      $               360.00
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B6 Declaration (Official Form 6 - Declaration). (12/07)
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                                                                  United States Bankruptcy Court
                                                              Southern District of Ohio, Eastern Division
             Gregory P. Mild
 In re       Cynthia S. Mild                                                                                       Case No.
                                                                                             Debtor(s)             Chapter    7




                                         DECLARATION CONCERNING DEBTOR'S SCHEDULES

                                     DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR




                          I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of
                40       sheets, and that they are true and correct to the best of my knowledge, information, and belief.




 Date June 2, 2009                                                              Signature    /s/ Gregory P. Mild
                                                                                             Gregory P. Mild
                                                                                             Debtor


 Date June 2, 2009                                                              Signature    /s/ Cynthia S. Mild
                                                                                             Cynthia S. Mild
                                                                                             Joint Debtor

     Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                      18 U.S.C. §§ 152 and 3571.




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B7 (Official Form 7) (12/07)



                                                                  United States Bankruptcy Court
                                                              Southern District of Ohio, Eastern Division
             Gregory P. Mild
 In re       Cynthia S. Mild                                                                                   Case No.
                                                                                             Debtor(s)         Chapter        7


                                                          STATEMENT OF FINANCIAL AFFAIRS

           This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which the information for
both spouses is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish information for both spouses whether or
not a joint petition is filed, unless the spouses are separated and a joint petition is not filed. An individual debtor engaged in business as a sole
proprietor, partner, family farmer, or self-employed professional, should provide the information requested on this statement concerning all such
activities as well as the individual's personal affairs. To indicate payments, transfers and the like to minor children, state the child's initials and the
name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11
U.S.C. § 112; Fed. R. Bankr. P. 1007(m).

          Questions 1 - 18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also must complete
Questions 19 - 25. If the answer to an applicable question is "None," mark the box labeled "None." If additional space is needed for the answer
to any question, use and attach a separate sheet properly identified with the case name, case number (if known), and the number of the question.


                                                                                             DEFINITIONS

          "In business." A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership. An individual debtor is "in
business" for the purpose of this form if the debtor is or has been, within six years immediately preceding the filing of this bankruptcy case, any of
the following: an officer, director, managing executive, or owner of 5 percent or more of the voting or equity securities of a corporation; a partner,
other than a limited partner, of a partnership; a sole proprietor or self-employed full-time or part-time. An individual debtor also may be "in business"
for the purpose of this form if the debtor engages in a trade, business, or other activity, other than as an employee, to supplement income from the
debtor's primary employment.

          "Insider." The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and their relatives;
corporations of which the debtor is an officer, director, or person in control; officers, directors, and any owner of 5 percent or more of the voting or
equity securities of a corporate debtor and their relatives; affiliates of the debtor and insiders of such affiliates; any managing agent of the debtor. 11
U.S.C. § 101.

                                                               __________________________________________

               1. Income from employment or operation of business

    None       State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of the debtor's
               business, including part-time activities either as an employee or in independent trade or business, from the beginning of this calendar
               year to the date this case was commenced. State also the gross amounts received during the two years immediately preceding this
               calendar year. (A debtor that maintains, or has maintained, financial records on the basis of a fiscal rather than a calendar year may
               report fiscal year income. Identify the beginning and ending dates of the debtor's fiscal year.) If a joint petition is filed, state income for
               each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income of both spouses whether or not a joint
               petition is filed, unless the spouses are separated and a joint petition is not filed.)

                           AMOUNT                                   SOURCE
                           $70,000.00                               2007 JT
                           $73,000.00                               2008 JT




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                                                                                                                                                            2

               2. Income other than from employment or operation of business

    None       State the amount of income received by the debtor other than from employment, trade, profession, or operation of the debtor's business
               during the two years immediately preceding the commencement of this case. Give particulars. If a joint petition is filed, state income for
               each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income for each spouse whether or not a joint
               petition is filed, unless the spouses are separated and a joint petition is not filed.)

                           AMOUNT                                   SOURCE

               3. Payments to creditors

    None       Complete a. or b., as appropriate, and c.

               a. Individual or joint debtor(s) with primarily consumer debts. List all payments on loans, installment purchases of goods or services,
               and other debts to any creditor made within 90 days immediately preceding the commencement of this case unless the aggregate value
               of all property that constitutes or is affected by such transfer is less than $600. Indicate with an (*) any payments that were made to a
               creditor on account of a domestic support obligation or as part of an alternative repayment schedule under a plan by an approved
               nonprofit budgeting and creditor counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments by
               either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 NAME AND ADDRESS                                                                  DATES OF                                           AMOUNT STILL
    OF CREDITOR                                                                    PAYMENTS                     AMOUNT PAID             OWING

    None       b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made within 90 days
               immediately preceding the commencement of the case unless the aggregate value of all property that constitutes or is affected by such
               transfer is less than $5,475. If the debtor is an individual, indicate with an asterisk (*) any payments that were made to a creditor on
               account of a domestic support obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit
               budgeting and creditor counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or
               both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                                                                       AMOUNT
                                                                                   DATES OF                             PAID OR
                                                                                   PAYMENTS/                          VALUE OF        AMOUNT STILL
 NAME AND ADDRESS OF CREDITOR                                                      TRANSFERS                         TRANSFERS          OWING

    None       c. All debtors: List all payments made within one year immediately preceding the commencement of this case to or for the benefit of
               creditors who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both
               spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 NAME AND ADDRESS OF CREDITOR AND                                                                                                     AMOUNT STILL
      RELATIONSHIP TO DEBTOR                                                       DATE OF PAYMENT              AMOUNT PAID             OWING

               4. Suits and administrative proceedings, executions, garnishments and attachments

    None       a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately preceding the filing of
               this bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses
               whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 CAPTION OF SUIT                                                                             COURT OR AGENCY           STATUS OR
 AND CASE NUMBER                                NATURE OF PROCEEDING                         AND LOCATION              DISPOSITION
 FIFTH THIRD MORTGAGE                           FORECLOSURE                                  FRANKLIN COUNTY COURT     PENDING
 COMPANY                                                                                     OF COMMON PLEAS

 VS. CASE NO. 08-CVE-09-
 13082

 GREGORY P. MILD




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                                                                                                                                                      3

 CAPTION OF SUIT                                                                             COURT OR AGENCY         STATUS OR
 AND CASE NUMBER                                NATURE OF PROCEEDING                         AND LOCATION            DISPOSITION
 FIFTH THIRD MORTGAGE                           FORCLOSURE                                   FRANKLIN COUNTY COURT   PENDING
                                                                                             OF COMMON PLEAS
 VS. CASE NO, 08 CVE-09-
 13034

 GREGORY P. & CYNTHIA S.
 MILD
 CENTRAL MORTGAGE                               FORECLOSURE                                  FRANKLIN COUNTY COURT   PENDING
 COMPANY                                                                                     OF COMMON PLEAS

 VS. CASE NO. 08-CVE-09-
 13644

 CYNTHIA & GREG MILD
 HSBC BANK USA NATIONAL                                                                      FRANKLIN COUNTY COURT   PENDING
 ASSOCIATION                                                                                 OF COMMON PLEAS

 VS. CASE NO. 08-CVE-08-
 11488

 CYNTHIA & GREGORY MILD
 FIFTH THIRD MORTGAGE                           FORECLOSURE                                  FRANKLIN COUNTY COURT   PENDING
 COMPANY                                                                                     OF COMMON PLEAS

 VS. CASE NO. 08-CVE-08-
 11553

 GREGORY & CYNTHIA MILD
 MARBURN ACADMY                                                                              FRANKLIN COUNTY         PENDING
                                                                                             MUNICIPAL COURT
 VS. CASE NO. 2008-CVF-
 031112
 GREENPOINT MORTGAGE                                                                         FRANKLIN COUNTY COURT   PENDING
 FUNDING INC                                                                                 OF COMMON PLEAS

 VS. CASE NO. 08-CVE-08-
 11891
 FIFTH THIRD MORTGAGE                                                                        FRANKLIN COUNTY         PENDING
 COMPANY                                                                                     COMMON PLEAS

 VS. CASE NO. 08 CVE 09
 12977

 GREGORY & CYNTHIA MILD
 FIFTH THIRD MORTGAGE                           FORECLOSURE                                  FRANKLIN COUNTY         PENDING
 COMPANY                                                                                     COMMON PLEAS COURT

 VS. CASE NO.08 CV 17447

 CYNTHIA MILD
 FIFTH THIRD MORTGAGE                           FORCLOSURE                                   FRANKLIN COUNTY COURT   PENDING
 COMPANY                                                                                     OF COMMON PLEAS

 VS. CASE NO. 08-CVE-12-
 17645




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                                                                                                                                                      4

 CAPTION OF SUIT                                                                             COURT OR AGENCY         STATUS OR
 AND CASE NUMBER                                NATURE OF PROCEEDING                         AND LOCATION            DISPOSITION
 DEUTSCHE BANK                                  FORECLOSURE                                  MARION COMMON PLEAS     PENDING
 NATIONAL TRUST                                                                              COURT
 COMPANY
 COUNTRYWIDE

 VS. CASE NO. 2008 CV 1017

 CYNTHIA & GREG MILD
 FIFTH THIRD BANK                               FORECLOSURE                                  FRANKLIN COUNTY         PENDING
 MORTGAGE COMPANY                                                                            COMMON PLEASE COURT

 VS. CASE NO. 08 CVE 09-
 12896

 GREGORY & CYNTHIA MILD
 WELLS FARGO BANK                               FORECLOSURE                                  FRANKLIN COUNTY         PENDING
                                                                                             COMMON PLEAS
 VS. CASE NO. 08 CVE 08
 12433

 CYNTHIA MILD
 FIFTH THIRD MORTGAGE                           FORECLOSURE                                  FRANKLIN COUNTY         PENDING
 COMPANY                                                                                     COMMON PLEAS COURT

 VS. CASE NO. 08 CVE 09
 12961

 GREGORY & CYNTHIA MILD
 FIFTH THIRD MORTGAGE                           FORECLOSURE                                  FRANKLIN COUNTY         PENDING
 COMPANY                                                                                     COMMON PLEAS COURT

 VS. CASE NO. 08 CV 12-
 17449

 CYNTHIA & GREG MILD
 US BANK NATIONAL                               FORECLOSURE                                  FRANKLIN COUNTY         PENDING
 ASSOCIATION/FIFTH THIRD                                                                     COMMON PLEAS COURT
 MORTG CO


 VS. CASE NO. 09 CV-02-2751

 CYNTHIA MILD
 CONTACT                                                                                     FRANKLIN COUNTY         PENDING
 TRANSPORTATION, INC.                                                                        COMMON PLEAS COURT

 VS. CASE NO. 09 CV-02-1835

 CYNTHIA MILD
 FIFTH THIRD MORTGAGE                           FORECLOSURE                                  FRANKLIN COUNTY COURT   PENDING
 COMPANY                                                                                     OF COMMON PLEAS

 VS. CASE NO. 09 CVE 01
 0824

 CYNTHIA MILD




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                                                                                                                                                             5
    None       b. Describe all property that has been attached, garnished or seized under any legal or equitable process within one year immediately
               preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
               property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
               filed.)

 NAME AND ADDRESS OF PERSON FOR WHOSE                                                                 DESCRIPTION AND VALUE OF
    BENEFIT PROPERTY WAS SEIZED                                                 DATE OF SEIZURE              PROPERTY

               5. Repossessions, foreclosures and returns

    None       List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu of foreclosure or
               returned to the seller, within one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12
               or chapter 13 must include information concerning property of either or both spouses whether or not a joint petition is filed, unless the
               spouses are separated and a joint petition is not filed.)

                                                                           DATE OF REPOSSESSION,
 NAME AND ADDRESS OF                                                         FORECLOSURE SALE,          DESCRIPTION AND VALUE OF
  CREDITOR OR SELLER                                                        TRANSFER OR RETURN                  PROPERTY

               6. Assignments and receiverships

    None       a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the commencement of
               this case. (Married debtors filing under chapter 12 or chapter 13 must include any assignment by either or both spouses whether or not a
               joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                        DATE OF
 NAME AND ADDRESS OF ASSIGNEE                                           ASSIGNMENT                      TERMS OF ASSIGNMENT OR SETTLEMENT

    None       b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year immediately
               preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
               property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
               filed.)

                                                                   NAME AND LOCATION
 NAME AND ADDRESS                                                       OF COURT                         DATE OF       DESCRIPTION AND VALUE OF
   OF CUSTODIAN                                                    CASE TITLE & NUMBER                   ORDER               PROPERTY

               7. Gifts

    None       List all gifts or charitable contributions made within one year immediately preceding the commencement of this case except ordinary
               and usual gifts to family members aggregating less than $200 in value per individual family member and charitable contributions
               aggregating less than $100 per recipient. (Married debtors filing under chapter 12 or chapter 13 must include gifts or contributions by
               either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

   NAME AND ADDRESS OF                                             RELATIONSHIP TO                                      DESCRIPTION AND
 PERSON OR ORGANIZATION                                             DEBTOR, IF ANY                      DATE OF GIFT     VALUE OF GIFT

               8. Losses

    None       List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement of this case or
               since the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include losses by either or both
               spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                                       DESCRIPTION OF CIRCUMSTANCES AND, IF
 DESCRIPTION AND VALUE                                                                 LOSS WAS COVERED IN WHOLE OR IN PART
     OF PROPERTY                                                                          BY INSURANCE, GIVE PARTICULARS         DATE OF LOSS




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                                                                                                                                                                6

               9. Payments related to debt counseling or bankruptcy

    None       List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for consultation
               concerning debt consolidation, relief under the bankruptcy law or preparation of the petition in bankruptcy within one year immediately
               preceding the commencement of this case.

                                                                                    DATE OF PAYMENT,                           AMOUNT OF MONEY
 NAME AND ADDRESS                                                                 NAME OF PAYOR IF OTHER                   OR DESCRIPTION AND VALUE
    OF PAYEE                                                                          THAN DEBTOR                                OF PROPERTY

               10. Other transfers

    None       a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of the debtor,
               transferred either absolutely or as security within two years immediately preceding the commencement of this case. (Married debtors
               filing under chapter 12 or chapter 13 must include transfers by either or both spouses whether or not a joint petition is filed, unless the
               spouses are separated and a joint petition is not filed.)

 NAME AND ADDRESS OF TRANSFEREE,                                                                            DESCRIBE PROPERTY TRANSFERRED
     RELATIONSHIP TO DEBTOR                                                     DATE                               AND VALUE RECEIVED

    None       b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case to a self-settled
               trust or similar device of which the debtor is a beneficiary.

 NAME OF TRUST OR OTHER                                                                                     AMOUNT OF MONEY OR DESCRIPTION AND
 DEVICE                                                                         DATE(S) OF                  VALUE OF PROPERTY OR DEBTOR'S INTEREST
                                                                                TRANSFER(S)                 IN PROPERTY

               11. Closed financial accounts

    None       List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were closed, sold, or
               otherwise transferred within one year immediately preceding the commencement of this case. Include checking, savings, or other
               financial accounts, certificates of deposit, or other instruments; shares and share accounts held in banks, credit unions, pension funds,
               cooperatives, associations, brokerage houses and other financial institutions. (Married debtors filing under chapter 12 or chapter 13 must
               include information concerning accounts or instruments held by or for either or both spouses whether or not a joint petition is filed,
               unless the spouses are separated and a joint petition is not filed.)

                                                                                   TYPE OF ACCOUNT, LAST FOUR
                                                                                    DIGITS OF ACCOUNT NUMBER,              AMOUNT AND DATE OF SALE
 NAME AND ADDRESS OF INSTITUTION                                                  AND AMOUNT OF FINAL BALANCE                      OR CLOSING
 Fifth Third Bank                                                                 Checking                                 August 2008
 P.O. Box 740789
 Cincinnati, OH 45274
 Midstate                                                                         Savings - $0.00 balance                  $0.00 November 2008



               12. Safe deposit boxes

    None       List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables within one year
               immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include boxes or
               depositories of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
               filed.)

                                                              NAMES AND ADDRESSES
 NAME AND ADDRESS OF BANK                                     OF THOSE WITH ACCESS                          DESCRIPTION         DATE OF TRANSFER OR
  OR OTHER DEPOSITORY                                         TO BOX OR DEPOSITORY                          OF CONTENTS          SURRENDER, IF ANY




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               13. Setoffs

    None       List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding the
               commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both
               spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 NAME AND ADDRESS OF CREDITOR                                                     DATE OF SETOFF                       AMOUNT OF SETOFF

               14. Property held for another person

    None       List all property owned by another person that the debtor holds or controls.


                                                                                  DESCRIPTION AND VALUE OF
 NAME AND ADDRESS OF OWNER                                                               PROPERTY                      LOCATION OF PROPERTY

               15. Prior address of debtor

    None       If the debtor has moved within three years immediately preceding the commencement of this case, list all premises which the debtor
               occupied during that period and vacated prior to the commencement of this case. If a joint petition is filed, report also any separate
               address of either spouse.

 ADDRESS                                                                          NAME USED                            DATES OF OCCUPANCY

               16. Spouses and Former Spouses

    None       If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona, California, Idaho,
               Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within eight years immediately preceding the
               commencement of the case, identify the name of the debtor’s spouse and of any former spouse who resides or resided with the debtor in
               the community property state.

 NAME

               17. Environmental Information.

               For the purpose of this question, the following definitions apply:

               "Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination, releases of hazardous
               or toxic substances, wastes or material into the air, land, soil, surface water, groundwater, or other medium, including, but not limited to,
               statutes or regulations regulating the cleanup of these substances, wastes, or material.

                      "Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently or formerly
                      owned or operated by the debtor, including, but not limited to, disposal sites.

                      "Hazardous Material" means anything defined as a hazardous waste, hazardous substance, toxic substance, hazardous material,
                      pollutant, or contaminant or similar term under an Environmental Law

    None       a. List the name and address of every site for which the debtor has received notice in writing by a governmental unit that it may be liable
               or potentially liable under or in violation of an Environmental Law. Indicate the governmental unit, the date of the notice, and, if known,
               the Environmental Law:

                                                              NAME AND ADDRESS OF                     DATE OF                 ENVIRONMENTAL
 SITE NAME AND ADDRESS                                        GOVERNMENTAL UNIT                       NOTICE                  LAW

    None       b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release of Hazardous
               Material. Indicate the governmental unit to which the notice was sent and the date of the notice.

                                                              NAME AND ADDRESS OF                     DATE OF                 ENVIRONMENTAL
 SITE NAME AND ADDRESS                                        GOVERNMENTAL UNIT                       NOTICE                  LAW




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                                                                                                                                                               8
    None       c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with respect to which
               the debtor is or was a party. Indicate the name and address of the governmental unit that is or was a party to the proceeding, and the
               docket number.

 NAME AND ADDRESS OF
 GOVERNMENTAL UNIT                                                                DOCKET NUMBER                         STATUS OR DISPOSITION

               18 . Nature, location and name of business

    None       a. If the debtor is an individual, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
               ending dates of all businesses in which the debtor was an officer, director, partner, or managing executive of a corporation, partner in a
               partnership, sole proprietor, or was self-employed in a trade, profession, or other activity either full- or part-time within six years
               immediately preceding the commencement of this case, or in which the debtor owned 5 percent or more of the voting or equity securities
               within six years immediately preceding the commencement of this case.

               If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
               ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities, within six
               years immediately preceding the commencement of this case.

               If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
               ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities within six
               years immediately preceding the commencement of this case.

                                     LAST FOUR DIGITS OF
                                     SOCIAL-SECURITY OR
                                     OTHER INDIVIDUAL
                                     TAXPAYER-I.D. NO.                                                                             BEGINNING AND
 NAME                                (ITIN)/ COMPLETE EIN                  ADDRESS                NATURE OF BUSINESS               ENDING DATES
 First Choice Moving                                                                                                               6/2008-10/2008
 & Storage
 Advanced Real                                                                                                                     12/2005-10/2008
 Marketing Systems

    None       b. Identify any business listed in response to subdivision a., above, that is "single asset real estate" as defined in 11 U.S.C. § 101.


 NAME                                                                           ADDRESS


    The following questions are to be completed by every debtor that is a corporation or partnership and by any individual debtor who is or has
been, within six years immediately preceding the commencement of this case, any of the following: an officer, director, managing executive, or
owner of more than 5 percent of the voting or equity securities of a corporation; a partner, other than a limited partner, of a partnership, a sole
proprietor or self-employed in a trade, profession, or other activity, either full- or part-time.

     (An individual or joint debtor should complete this portion of the statement only if the debtor is or has been in business, as defined above,
within six years immediately preceding the commencement of this case. A debtor who has not been in business within those six years should go
directly to the signature page.)

               19. Books, records and financial statements

    None       a. List all bookkeepers and accountants who within two years immediately preceding the filing of this bankruptcy case kept or
               supervised the keeping of books of account and records of the debtor.

 NAME AND ADDRESS                                                                                          DATES SERVICES RENDERED
 Cindy Mild                                                                                                Various (for both businesses)


    None       b. List all firms or individuals who within the two years immediately preceding the filing of this bankruptcy case have audited the books
               of account and records, or prepared a financial statement of the debtor.

 NAME                                                  ADDRESS                                             DATES SERVICES RENDERED



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                                                                                                                                                                9
    None       c. List all firms or individuals who at the time of the commencement of this case were in possession of the books of account and records
               of the debtor. If any of the books of account and records are not available, explain.

 NAME                                                                                               ADDRESS

    None       d. List all financial institutions, creditors and other parties, including mercantile and trade agencies, to whom a financial statement was
               issued by the debtor within two years immediately preceding the commencement of this case.

 NAME AND ADDRESS                                                                                         DATE ISSUED

               20. Inventories

    None       a. List the dates of the last two inventories taken of your property, the name of the person who supervised the taking of each inventory,
               and the dollar amount and basis of each inventory.

                                                                                                                DOLLAR AMOUNT OF INVENTORY
 DATE OF INVENTORY                                     INVENTORY SUPERVISOR                                     (Specify cost, market or other basis)

    None       b. List the name and address of the person having possession of the records of each of the two inventories reported in a., above.


                                                                                             NAME AND ADDRESSES OF CUSTODIAN OF INVENTORY
 DATE OF INVENTORY                                                                           RECORDS

               21 . Current Partners, Officers, Directors and Shareholders

    None       a. If the debtor is a partnership, list the nature and percentage of partnership interest of each member of the partnership.


 NAME AND ADDRESS                                                               NATURE OF INTEREST                        PERCENTAGE OF INTEREST
 Cindy Mild                                                                     Advanced Real Marketing LLC.              100%

 Daniel Waddell                                                                 First Choice Movers, LLC                  10%

 Faith Waddell                                                                  First Choice Movers, LLC                  80%

 Cindy Mild                                                                     First Choice Movers, LLC                  10%


    None       b. If the debtor is a corporation, list all officers and directors of the corporation, and each stockholder who directly or indirectly owns,
               controls, or holds 5 percent or more of the voting or equity securities of the corporation.

                                                                                                                NATURE AND PERCENTAGE
 NAME AND ADDRESS                                                               TITLE                           OF STOCK OWNERSHIP

               22 . Former partners, officers, directors and shareholders

    None       a. If the debtor is a partnership, list each member who withdrew from the partnership within one year immediately preceding the
               commencement of this case.

 NAME                                                              ADDRESS                                               DATE OF WITHDRAWAL

    None       b. If the debtor is a corporation, list all officers, or directors whose relationship with the corporation terminated within one year
               immediately preceding the commencement of this case.

 NAME AND ADDRESS                                                               TITLE                           DATE OF TERMINATION




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               23 . Withdrawals from a partnership or distributions by a corporation

    None       If the debtor is a partnership or corporation, list all withdrawals or distributions credited or given to an insider, including compensation
               in any form, bonuses, loans, stock redemptions, options exercised and any other perquisite during one year immediately preceding the
               commencement of this case.

 NAME & ADDRESS                                                                                                       AMOUNT OF MONEY
 OF RECIPIENT,                                                                  DATE AND PURPOSE                      OR DESCRIPTION AND
 RELATIONSHIP TO DEBTOR                                                         OF WITHDRAWAL                         VALUE OF PROPERTY

               24. Tax Consolidation Group.

    None       If the debtor is a corporation, list the name and federal taxpayer identification number of the parent corporation of any consolidated
               group for tax purposes of which the debtor has been a member at any time within six years immediately preceding the commencement
               of the case.

 NAME OF PARENT CORPORATION                                                                          TAXPAYER IDENTIFICATION NUMBER (EIN)

               25. Pension Funds.

    None       If the debtor is not an individual, list the name and federal taxpayer identification number of any pension fund to which the debtor, as an
               employer, has been responsible for contributing at any time within six years immediately preceding the commencement of the case.

 NAME OF PENSION FUND                                                                                TAXPAYER IDENTIFICATION NUMBER (EIN)




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                                  DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR


I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any attachments thereto
and that they are true and correct.


 Date June 2, 2009                                                              Signature    /s/ Gregory P. Mild
                                                                                             Gregory P. Mild
                                                                                             Debtor


 Date June 2, 2009                                                              Signature    /s/ Cynthia S. Mild
                                                                                             Cynthia S. Mild
                                                                                             Joint Debtor

                    Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 and 3571




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                                                 UNITED STATES BANKRUPTCY COURT
                                             SOUTHERN DISTRICT OF OHIO, EASTERN DIVISION

                                           NOTICE TO CONSUMER DEBTOR(S) UNDER § 342(b)
                                                    OF THE BANKRUPTCY CODE
          In accordance with § 342(b) of the Bankruptcy Code, this notice to individuals with primarily consumer debts: (1) Describes
briefly the services available from credit counseling services; (2) Describes briefly the purposes, benefits and costs of the four types of
bankruptcy proceedings you may commence; and (3) Informs you about bankruptcy crimes and notifies you that the Attorney General
may examine all information you supply in connection with a bankruptcy case.

         You are cautioned that bankruptcy law is complicated and not easily described. Thus, you may wish to seek the advice of an
attorney to learn of your rights and responsibilities should you decide to file a petition. Court employees cannot give you legal advice.

         Notices from the bankruptcy court are sent to the mailing address you list on your bankruptcy petition. In order to ensure that
you receive information about events concerning your case, Bankruptcy Rule 4002 requires that you notify the court of any changes in
your address. If you are filing a joint case (a single bankruptcy case for two individuals married to each other), and each spouse lists
the same mailing address on the bankruptcy petition, you and your spouse will generally receive a single copy of each notice mailed
from the bankruptcy court in a jointly-addressed envelope, unless you file a statement with the court requesting that each spouse
receive a separate copy of all notices.

1. Services Available from Credit Counseling Agencies
          With limited exceptions, § 109(h) of the Bankruptcy Code requires that all individual debtors who file for bankruptcy
relief on or after October 17, 2005, receive a briefing that outlines the available opportunities for credit counseling and
provides assistance in performing a budget analysis. The briefing must be given within 180 days before the bankruptcy filing. The
briefing may be provided individually or in a group (including briefings conducted by telephone or on the Internet) and must be
provided by a nonprofit budget and credit counseling agency approved by the United States trustee or bankruptcy administrator. The
clerk of the bankruptcy court has a list that you may consult of the approved budget and credit counseling agencies. Each debtor in a
joint case must complete the briefing.

          In addition, after filing a bankruptcy case, an individual debtor generally must complete a financial management
instructional course before he or she can receive a discharge. The clerk also has a list of approved financial management
instructional courses. Each debtor in a joint case must complete the course.

2. The Four Chapters of the Bankruptcy Code Available to Individual Consumer Debtors

             Chapter 7: Liquidation ($245 filing fee, $39 administrative fee, $15 trustee surcharge: Total Fee $299)
          1. Chapter 7 is designed for debtors in financial difficulty who do not have the ability to pay their existing debts. Debtors
whose debts are primarily consumer debts are subject to a "means test" designed to determine whether the case should be permitted to
proceed under chapter 7. If your income is greater than the median income for your state of residence and family size, in some cases,
creditors have the right to file a motion requesting that the court dismiss your case under § 707(b) of the Code. It is up to the court to
decide whether the case should be dismissed.
          2. Under chapter 7, you may claim certain of your property as exempt under governing law. A trustee may have the right to
take possession of and sell the remaining property that is not exempt and use the sale proceeds to pay your creditors.
          3. The purpose of filing a chapter 7 case is to obtain a discharge of your existing debts. If, however, you are found to have
committed certain kinds of improper conduct described in the Bankruptcy Code, the court may deny your discharge and, if it does, the
purpose for which you filed the bankruptcy petition will be defeated.
          4. Even if you receive a general discharge, some particular debts are not discharged under the law. Therefore, you may still
be responsible for most taxes and student loans; debts incurred to pay nondischargeable taxes; domestic support and property
settlement obligations; most fines, penalties, forfeitures, and criminal restitution obligations; certain debts which are not properly listed
in your bankruptcy papers; and debts for death or personal injury caused by operating a motor vehicle, vessel, or aircraft while
intoxicated from alcohol or drugs. Also, if a creditor can prove that a debt arose from fraud, breach of fiduciary duty, or theft, or from
a willful and malicious injury, the bankruptcy court may determine that the debt is not discharged.

             Chapter 13: Repayment of All or Part of the Debts of an Individual with Regular Income ($235 filing fee,
             $39 administrative fee: Total fee $274)
             1. Chapter 13 is designed for individuals with regular income who would like to pay all or part of their debts in installments


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over a period of time. You are only eligible for chapter 13 if your debts do not exceed certain dollar amounts set forth in the
Bankruptcy Code.
          2. Under chapter 13, you must file with the court a plan to repay your creditors all or part of the money that you owe them,
using your future earnings. The period allowed by the court to repay your debts may be three years or five years, depending upon your
income and other factors. The court must approve your plan before it can take effect.
          3. After completing the payments under your plan, your debts are generally discharged except for domestic support
obligations; most student loans; certain taxes; most criminal fines and restitution obligations; certain debts which are not properly
listed in your bankruptcy papers; certain debts for acts that caused death or personal injury; and certain long term secured obligations.


             Chapter 11: Reorganization ($1000 filing fee, $39 administrative fee: Total fee $1039)
        Chapter 11 is designed for the reorganization of a business but is also available to consumer debtors. Its provisions are quite
complicated, and any decision by an individual to file a chapter 11 petition should be reviewed with an attorney.


             Chapter 12: Family Farmer or Fisherman ($200 filing fee, $39 administrative fee: Total fee $239)
         Chapter 12 is designed to permit family farmers and fishermen to repay their debts over a period of time from future earnings
and is similar to chapter 13. The eligibility requirements are restrictive, limiting its use to those whose income arises primarily from a
family-owned farm or commercial fishing operation.

3. Bankruptcy Crimes and Availability of Bankruptcy Papers to Law Enforcement Officials
          A person who knowingly and fraudulently conceals assets or makes a false oath or statement under penalty of perjury, either
orally or in writing, in connection with a bankruptcy case is subject to a fine, imprisonment, or both. All information supplied by a
debtor in connection with a bankruptcy case is subject to examination by the Attorney General acting through the Office of the United
States Trustee, the Office of the United States Attorney, and other components and employees of the Department of Justice.

WARNING: Section 521(a)(1) of the Bankruptcy Code requires that you promptly file detailed information regarding your creditors,
assets, liabilities, income, expenses and general financial condition. Your bankruptcy case may be dismissed if this information is not
filed with the court within the time deadlines set by the Bankruptcy Code, the Bankruptcy Rules, and the local rules of the court.
                                                                              Certificate of Attorney
             I hereby certify that I delivered to the debtor this notice required by § 342(b) of the Bankruptcy Code.
 Thomas C. Lonn 0059788                                                                   X /s/ Thomas C. Lonn                   June 2, 2009
Printed Name of Attorney                                                                    Signature of Attorney                Date
Address:
833 Eastwind Drive
Westerville, OH 43081
614-895-1234
tclonnesq@rrohio.com

                                                                               Certificate of Debtor
             I (We), the debtor(s), affirm that I (we) have received and read this notice.
 Gregory P. Mild
 Cynthia S. Mild                                                                          X /s/ Gregory P. Mild                  June 2, 2009
 Printed Name(s) of Debtor(s)                                                               Signature of Debtor                  Date

 Case No. (if known)                                                                      X /s/ Cynthia S. Mild                  June 2, 2009
                                                                                            Signature of Joint Debtor (if any)   Date




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                         Aduall Mohamed
                         3861 Cypress Clubway
                         Columbus OH 43219

                         Advanta Bank Corp.
                         P.O. Box 8088
                         Philadelphia PA 19101-8088

                         AEP Ohio
                         P.O. Box 24418
                         Canton OH 44701

                         AEP Ohio
                         P.O. Box 24401
                         Canton OH 44701-4401

                         Akin Law Group
                         51 Dorchester Square Lane
                         Westerville OH 43081

                         Alexandria Vaneck, Esq.
                         5660 Southwyck Blvd, #110
                         Toledo OH 43614

                         American Home Mtg Srv
                         Attn: Bankruptcy
                         4600 Regent Blvd
                         Irving TX 75063

                         AT&T Yellow Pages
                         100 E. Big Beaver Road, 14th Floor
                         Troy MI 48083

                         Avis Budget Group
                         6 Sylvan Way
                         Parsippany NJ 07054

                         Bank Of America
                         Nc4-105-03-14
                         4161 Piedmont Pkwy
                         Greensboro NC 27420

                         Bank of America- Business Card
                         P.O. Box 15710
                         Wilmington DE 19886-5710

                         Barclays Bank Delaware
                         Attention: Customer Support Department
                         Po Box 8833
                         Wilmington DE 19899

                         Budget Truck
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                     Capital Recovery Systems
                     7500 Cross Pointe Road, Ste S
                     Columbus OH 43230

                     Carlisle, McNellie & Rini
                     25200 Chagrin Blvd. Suite 240
                     Beachwood OH 44122

                     CBCS
                     P.O. Box 165025
                     Columbus OH 43216

                     Central Mortgage Co


                     Central Portfolio Control
                     6640 Shady Oak Road # 300
                     Eden Prairie MN 55344

                     Chase
                     800 Brooksedge Blvd
                     Westerville OH 43081

                     Chase - Cc
                     Attention: Banktruptcy Department
                     Po Box 100018
                     Kennesaw GA 30156

                     Chase Manhattan Mortgage
                     Attention: Research Dept. G7-PP
                     3415 Vision Drive
                     Columbus OH 43219

                     Citi
                     Po Box 6241
                     Sioux Falls SD 57117

                     City of Columbus
                     P.O. Box 182882
                     Columbus OH 43218

                     City of Columbus
                     Water & Sewer Services
                     P.O. Box 182882
                     Columbus OH 43218

                     City of Columbus
                     Department of Development
                     757 Carloyn Avenue
                     Columbus OH 43224

                     City of Columbus
                     57 E. Main Street
                     Columbus OH 43215
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                     City of Columbus Water & Sewer
                     PO Box 182882
                     Columbus OH 43218-2882

                     City of Westerville
                     64 E. Walnut Street
                     P.O. Box 6107
                     Westerville OH 43086

                     City of Westerville
                     21 S. State Street
                     Westerville OH 43081

                     CollectCorp Corporation
                     455 North 3rd Street, Suite 260
                     Phoenix AZ 85004-3924

                     Columbia Gas
                     PO Box 9001847
                     Louisville KY 40290-1847

                     Contact Transportation
                     815 Franklin Court
                     Columbus OH 43085

                     Countrywide Home Lending
                     Attention: Bankruptcy SV-314B
                     Po Box 5170
                     Simi Valley CA 93062

                     Creditors Interchange, Inc.
                     PO Box 2270
                     Buffalo NY 14240-1335

                     David Pettit
                     6811 Paul Road
                     Westerville OH 43082

                     Department of Public Utilities
                     Division of Water
                     910 Dublin Road
                     Columbus OH 43215-1116

                     Faith & Daniel Waddell
                     189 Brisbane Ave.
                     Westerville, Ohio 43081

                     Fifth Third Bank
                     C/O Bankruptcy Dept, Mdropso5
                     1850 East Paris
                     Grand Rapids MI 49546

                     Fifth Third Bank
                     P.O. Box 630900
                     Cincinnati OH 45263-0900
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                     Firstsource Advantage Collection
                     205 Bryant Woods South
                     Buffalo NY 14228

                     G M A C
                     Po Box 130424
                     Roseville MN 55113

                     Gemb/bargin Outlet
                     Po Box 981439
                     El Paso TX 79998

                     Green Point Savings
                     Po Box 84013
                     Columbus GA 31908

                     Hsbc/bsbuy
                     Pob 15521
                     Wilmington DE 19805

                     John & Wena Henson
                     7648 Red Bay Court
                     Dublin OH 43016

                     John D. Clunk CO., L.P.A.
                     5601 Hudson Drive, Suite 400
                     Hudson OH 44236

                     Key Bank
                     P.O. Box 8115
                     South Hackensack NJ 07606

                     Kohls
                     Attn: Recovery
                     Po Box 3120
                     Milwaukee WI 53201

                     Larry Cline
                     3101 Africa Rd.
                     Galena OH 43021

                     Law of Jeffrey B. Sams LLC
                     1579 Crosscreeks Boulevard
                     Pickerington OH 43147

                     Lerner Sampson & Rothfuss
                     Attn: Jennifer Madine
                     120 E. Fourth Street, 8th Floor
                     Cincinnati OH 45202-4007

                     Lerner, Sampson & Rothfuss
                     Matthew A. Taulbee
                     P.O. Box 5480
                     Cincinnati OH 45201
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                     Lowe's Commercial Services
                     P.O. Box 530970
                     Atlanta GA 30353-0970

                     Matt & Kim Wajda
                     7140 Asheville Park Drive
                     Columbus OH 43235

                     Midstate Educators Cu
                     399 E Livingston Ave
                     Columbus OH 43215

                     Mini Storage Depot
                     9984 Old State Road
                     Lewis Center OH 43035

                     National Administrative Solutions Corp
                     5747 Perimeter Drive, Ste, 200
                     Dublin OH 43017

                     Nationwide Credit Inc.
                     2015 Vaughn Road
                     Building 400
                     Kennesaw GA 30144

                     NCB Management Services, Inc
                     P.O. Box 1099
                     Langhorne PA 19047

                     Ohio Mutual Insurance Group
                     P.O. BOx 740656
                     Cincinnati OH 45274

                     Penn Credit Corporation
                     P.O. Box 988
                     Harrisburg PA 17108-0988

                     Pitney Bowes
                     PO Box 856390
                     Louisville KY 40285-6390

                     Richard Stearns
                     111 Kilbourne Dr.
                     Bucyrus OH 44820

                     Ryder Truck
                     11690 NW 105th St
                     Miami FL 33178

                     Sams Club
                     Attention: Bankruptcy Department
                     Po Box 103104
                     Roswell GA 30076
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                     Sherman Originator LLC
                     P.O. Box 10497
                     Greenville SC 29603

                     Slm Entities/glelsi
                     2401 International Ln
                     Madison WI 53704

                     Sunrise Credit Services
                     P.O. Box 9100
                     Farmingdale NY 11735-9100

                     Target N.b.
                     Po Box 673
                     Minneapolis MN 55440

                     Thomas Sherer
                     2308 Milan Road Apt. 205
                     Sandusky OH 44870

                     Unvl/citi
                     Attn.: Centralized Bankruptcy
                     Po Box 20507
                     Kansas City MO 64195

                     Us Bank
                     Attn: Bankruptcy Dept.
                     P.O. Box 5229
                     Cincinnati OH 45201

                     Us Bank/na Nd
                     4325 17th Ave S
                     Fargo ND 58125

                     Us Dept Of Education
                     Attn: Borrowers Service Dept
                     Po Box 5609
                     Greenville TX 75403

                     Verizon Wireless
                     P.O. Box 790406
                     Saint Louis MO 63179-0406

                     Wells Fargo Hm Mortgag
                     Attention: Bankruptcy Department MAC-X
                     3476 Stateview Blvd
                     Fort Mill SC 29715

                     Wesley Wallace
                     10615 Laguana Circle
                     Plain City OH 43064
